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      GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY, AND
      DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULES OF ASSETS AND
      LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

           Watson Grinding & Manufacturing Co. (“WGM” or “Debtor”) 1 filed for chapter 11 (the
     “Chapter 11 Case”) and in connection therewith have filed its Schedules of Assets and
     Liabilities (collectively, the “Schedules”) and the Statements of Financial Affairs (collectively,
     the “Statements” and, together with the Schedules, the “Schedules and Statements”) in the
     United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).
     The Debtor, with the assistance of its legal and financial advisors, prepared the Schedules and
     Statements, pursuant to section 521 of Chapter of Title 11 of the United States Code (the
     “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
     “Bankruptcy Rules”), and are unaudited.

           Due to an unexpected and tragic explosion that occurred on or about January 24, 2020,
     which has impacted WGM operations, the status of WGM’s assets are currently unknown with the
     possibility that some assets have been damaged or destroyed. Due to the catastrophic nature of
     the explosion and the resulting sequestration of the surrounding area to allow Federal, State and
     Local authorities to conduct their investigations, WGM has not been able to assess which assets
     may still exist and or may be salvageable. Further, if assets and equipment may be salvageable,
     WGM is not able to readily determine what the cost to do so may be.

           While the Debtor’s management has made every reasonable effort to ensure that the
     Schedules and Statements are as accurate and complete as possible, based on the catastrophic
     nature of the explosion and the resulting limited data and information that was available at the
     time of the preparation of these Schedules and Statements, subsequent information or discovery
     could provide more information about the items identified in the Schedules and Statements, and
     inadvertent errors or omissions may have occurred. As the Schedules and Statements contain
     unaudited information, which is subject to further review, verification, and potential adjustment,
     as well as the fact that certain underlying historical data may have been limited, these Schedules
     and Statements are as complete as practicable.




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    The Debtor in this Chapter 11 cases are as follows: Watson Grinding & Manufacturing Co.
    The location of the Debtor’s corporate headquarters and service address is 4525 Gessner Road Houston, TX 77041.
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        These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtor’s Schedules and Statements of Financial Affairs (the “Global
Notes”) are incorporated by reference in, and comprise an integral part of, each Debtor’s
respective Schedules and Statements, and should be referred to and considered in
connection with any review of the Schedules and Statements.

        The Schedules and Statements for the Debtor was signed by Robert White, Chief
Operating Officer of the Debtor. In reviewing and signing the Schedules and Statements,
Mr. White relied upon his knowledge of the business, his accounting and financial data
provided by Debtor’s Controller, an outside accounting firm, an outside specialty IT data
recovery firm and the efforts, statements, advice, and representations of personnel of the
Debtor and the Debtor’s legal and financial advisors. Mr. White has not and could not
personally verify the accuracy of each statement and/or representation contained in the
Schedules and Statements, including, but not limited to, statements and representations
concerning amounts owed to creditors, classification of such amounts, and creditors’
addresses. Although every reasonable attempt has been made to assign corresponding
transactions of the Debtor utilizing the available accounting and finance management
systems and data, certain assets, liabilities, or cash payments may have been reported on
one legal entity in these Schedules and Statements, while the beneficiary of the transaction
may have been another Debtor or legal entity.

        In preparing the Schedules and Statements, the Debtor relied on financial data
derived from its books and records that was available at the time of such preparation. The
Debtor, and its agents, attorneys, and financial advisors do not guarantee or warrant the
accuracy or completeness of the data that is provided herein, and shall not be liable for any
loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained herein. While
commercially reasonable efforts have been made to provide accurate and complete
information herein, inadvertent errors or omissions may exist. For the avoidance of doubt,
the Debtor and its professionals expressly do not undertake any obligation to update,
modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized, except as
required by applicable law. In no event shall the Debtor, or its agents, attorneys, and
financial advisors, be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtor or damages to business reputation,
lost business, or lost profits), whether foreseeable or not and however caused, even if the
Debtor or its agents, attorneys, or financial advisors are advised of the possibility of such
damages.

     Global Notes and Overview of Methodology

1.       Description of Case. On February 6, 2020, (the “Petition Date”), the Debtor filed
         voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

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2.      Reservations and Limitations. Commercially reasonable efforts have been made
        to prepare and file complete and accurate Schedules and Statements; however, as
        noted above, inadvertent errors or omissions may exist. Nothing contained in the
        Schedules and Statements constitutes a waiver of any of the Debtor’s rights or an
        admission of any kind with respect to this chapter 11 case, including, but not limited
        to, any rights or claims of the Debtor against any third party or issues involving
        substantive consolidation, equitable subordination, or defenses or causes of action
        arising under the provisions of chapter 5 of the Bankruptcy Code or any other
        relevant applicable bankruptcy or non- bankruptcy laws to recover assets or avoid
        transfers. Any specific reservation of rights contained elsewhere in the Global Notes
        does not limit in any respect the general reservation of rights contained in this
        paragraph.

        (a)    No Admission. Nothing contained in the Schedules and Statements is
               intended or should be construed as an admission or stipulation of the validity
               of any claim against the Debtor, any assertion made therein or herein, or a
               waiver of the right to dispute any claim or assert any cause of action or
               defense against any party.

        (b)    Recharacterization. Notwithstanding that the Debtor has made
               commercially reasonable efforts to correctly characterize, classify,
               categorize, or designate certain claims, assets, executory contracts,
               unexpired leases, and other items reported in the Schedules and Statements,
               the Debtor nonetheless may have improperly characterized, classified,
               categorized, or designated certain items.

        (c)    Categories or Labels for Purpose of Presentation in Schedules and
               Statements. Information requested by the Schedules and Statements
               requires the Debtor to make a judgment regarding the appropriate
               category in which information should be presented or how certain
               parties, claims or other data should be labeled. The Debtor’s decisions
               regarding the category or label to use is based on the best information
               available as of the filing of these Schedules and Statements and within the
               time constraints imposed.

        (d)    Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim
               on Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule
               G as “executory” or “unexpired” does not constitute an admission by the
               Debtor of the legal rights of the claimant or contract counterparty, or a
               waiver of the right to recharacterize or reclassify such claim or contract.

        (e)    Claims Description. Any failure to designate a claim on the Debtor’s
               Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
               does not constitute an admission by the Debtor that such amount is not
               “disputed,” “contingent,” or “unliquidated.”

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     (f)      Estimates and Assumptions. The preparation of the Schedules and
              Statements required the Debtor to make reasonable estimates and
              assumptions with respect to the reported amounts of assets and liabilities,
              the amount of contingent assets and contingent liabilities on the date of the
              Schedules and Statements, and the reported amounts of revenues and
              expenses during the applicable reporting periods. Actual results could differ
              from such estimates.

     (g)      Causes of Action. Despite commercially reasonable efforts, the Debtor may
              not have identified all current and potential causes of action the Debtor may
              have against third parties in its Schedules and Statements, including, without
              limitation, avoidance actions arising under chapter 5 of the Bankruptcy
              Code and actions under other relevant bankruptcy and non-bankruptcy laws
              to recover assets. Debtor reserves all rights to pursue causative actions
              against any and all third parties.

     (h)      Insiders. In the circumstance where the Schedules and Statements require
              information regarding “insiders,” the Debtor has included information with
              respect to certain individuals who served as officers and directors, as the case
              may be, during the relevant time periods. Such individuals may no longer
              serve in such capacities.

             The listing or omission of a party as an insider for purposes of the Schedules
             and Statements is not intended to be, nor should it be, construed as an
             admission of any fact, right, claim, or defense and all such rights, claims, and
             defenses are hereby expressly reserved. Information regarding the
             individuals listed as insiders in the Schedules and Statements has been
             included for informational purposes only.

3.         Methodology.
     (a)      Basis of Presentation. The Debtor relied on its Controller as well as its
              accounting firm and specialty IT data recovery firm, both outside firms, to
              facilitate t h e o b t a i n m e n t o f Debtor’s books and records.
              These Schedules and Statements do not purport to represent financial
              statements prepared in accordance with accounting principles generally
              accepted in the United States (“GAAP”), nor are they intended to fully
              reconcile to the financial statements prepared by the Debtor. These
              Schedules and Statements reflect the best available estimate of assets and
              liabilities of each separate Debtor, except where otherwise indicated.
              Information contained in the Schedules and Statements has been derived
              from the data extracted from the available Debtor’s books and records and
              historical financial statements. The fair value and net realizable value of
              real and personal property may vary materially from the net book value
              presented herein.

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         Given, among other things, the uncertainty surrounding the condition,
         collection and ownership of certain assets and the valuation and nature of
         certain liabilities, to the extent that a Debtor shows more assets than
         liabilities, this is not an admission that a Debtor was solvent as of the
         Petition Date or at any time prior to the Petition Date. Likewise, to the
         extent a Debtor shows more liabilities than assets, this is not an admission
         that a Debtor was insolvent as of the Petition Date or any time prior to the
         Petition Date.
         All asset and liability information, except where otherwise noted, is
         reflected through January 23, 2020.

   (b)   Confidential Information. There may be instances in the Schedules and
         Statements where the Debtor deemed it necessary and appropriate to
         redact from the public record information such as names, addresses, or
         amounts. Generally, the Debtor has used this approach because of a
         confidentiality agreement between the Debtor and a third party, for the
         protection of sensitive commercial information, or for the privacy of an
         individual.

   (c)   Duplication. Certain of the Debtor’s assets, liabilities, and prepetition
         payments may properly be disclosed in multiple parts of the Statements and
         Schedules. To the extent these disclosures would be duplicative, the Debtor
         has endeavored to only list such assets, liabilities, and prepetition payments
         once.

   (d)   Net Book Value. In certain instances, current market valuations for
         individual items of property and other assets are neither maintained by, nor
         readily available to the Debtor. Accordingly, unless otherwise indicated, the
         Debtor’s Schedules and Statements reflect net book values where possible.
         In certain instances, Debtor’s advisors were not provided with
         sufficient underlying details and schedules in order to properly assess
         book value. Additionally, Market values may vary, in some instances,
         materially, from net book values. The Debtor believes that it would be an
         inefficient use of estate assets for the Debtor to obtain the current market
         values of its property. Accordingly, the Debtor has indicated in the
         Schedules and Statements that the market values of certain assets and
         liabilities are undetermined. Also, assets that have been fully depreciated or
         that were expensed for accounting purposes either do not appear in these
         Schedules and Statements, or are listed with a zero-dollar value, as such
         assets have no net book value. The omission of an asset from the Schedules
         and Statements does not constitute a representation regarding the ownership
         of such asset, and any such omission does not constitute a waiver of any
         rights of the Debtor with respect to such asset.

   (e)   Undetermined Amounts. The description of an amount as “unknown,” is
         not intended to reflect upon the materiality of such amount.
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   (f)   Unliquidated Amounts. Claim amounts that could not be readily quantified
         by the Debtor are scheduled as "unliquidated." The description of an amount
         as "unknown," or "undetermined" is not intended to reflect upon the
         materiality of such amount. Any failure to designate a claim in the Schedules
         and Statements as "contingent," "unliquidated," or "disputed" does not
         constitute an admission by the Debtor that such claim or amount is not
         "contingent," "unliquidated," or "disputed." The Debtor reserves all rights to
         dispute, or to assert offsets or defenses to, any claim reflected on the
         Schedules and Statements on any grounds, including, but not limited to,
         amount, liability, priority, status, or classification, or to otherwise
         subsequently designate any claim as "contingent," "unliquidated," or
         "disputed."

   (g)   Totals. All totals that are included in the Schedules and Statements represent
         totals of all known amounts. To the extent there are unknown or
         undetermined amounts, the actual total may be different from the listed total.

   (h)   Property and Equipment. The Debtor’s owned property and equipment
         would normally have been valued at net book value, but the latest depreciated
         asset schedule was completed through September 30, 2019. In addition, the
         Debtor cannot properly assess the fair market value or any value until they
         have access to its equipment, including work in process, in order to
         determine what is salvageable, and most are scheduled as unknown at the
         time of the filing of the Schedules and Statements. The Debtor may lease
         furniture, fixtures, and equipment from certain third-party lessors. To the
         extent possible, any such leases are listed in the Schedules and Statements.
         Nothing in the Schedules and Statements is, or should be construed as, an
         admission as to the determination of the legal status of any lease (including
         whether any lease is a true lease or a financing arrangement), and the Debtor
         reserves all rights with respect thereto.

   (i)   Credits and Adjustments. The claims of individual creditors for, among
         other things, goods, products, services, or taxes are listed as the amounts
         entered on the Debtor’s books and records and may either (i) not reflect
         credits, allowances, or other adjustments due from such creditors to the
         Debtor or (ii) be net of accrued credits, allowances, or other adjustments that
         are actually owed by a creditor to the Debtor on a post-petition basis on
         account of such credits, allowances, or other adjustments earned from
         prepetition payments and critical vendor payments, if applicable. The Debtor
         reserves all of its rights with regard to such credits, allowances, or other
         adjustments, including, but not limited to, the right to modify the Schedules,
         assert claims objections and/or setoffs with respect to the same, or apply such
         allowances in the ordinary course of business on a post-petition basis.

   (j)   Intercompany Claims and Transfers. The Debtor maintains business
         relationships with another entity, Watson Valve Services, Inc. (debtor in Case

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            No. 20-30968, “Watson Valve”), conducting transactions from time to time
            that result in intercompany receivables and payables and/or are on account
            of capital contributions, equity investments, or distributions on account of
            equity investments. Known and assumed prepetition receivables and
            payables among and between the Debtor and Watson Valve are reported on
            Schedule A/B, and Schedule E/F, respectively, per the Debtor’s books and
            records. In certain instances, intercompany accounts may not have been
            reconciled and therefore the values are unknown and are listed as such. The
            listing of any amounts with respect to such receivables and payables is not,
            and should not be construed as, an admission of the characterization of such
            balances as debt, equity, or otherwise.

     (k)    Guarantees and Indemnification Claims. The Debtor has exercised
            commercially reasonable efforts to locate and identify guarantees of its
            executory contracts, unexpired leases, secured financings, and other such
            agreements. Where guarantees or indemnification claims have been
            identified, they have been included in the relevant Schedules E/F, G and H
            for the affected Debtor. The Debtor may have inadvertently omitted
            guarantees or indemnifications embedded in its contractual agreements and
            may identify additional guarantees or indemnifications as they continue to
            review its books and records and contractual agreements. The Debtor
            reserves its rights, but are not required, to amend the Schedules and
            Statements if additional guarantees are identified.

     (l)    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

4.       Specific Schedules Disclosures.
     (a)    Schedules Summary. Except as otherwise noted, the asset and liability
            totals represent amounts obtained utilizing trial balances through January
            23, 2020 with asset totals depreciated through September 30, 2019. The
            Company closes its books quarterly. Based on the size of the Company, the
            scope of its operations and internal accounting resources, a monthly close is
            not performed.

     (b)    Schedule A/B – Parts 1& 2 - Cash and Cash Equivalents; Deposits and
            Prepayments. Details with respect to the Debtor’s bank accounts are
            provided in the Debtor’s Schedules and are as of the Petition Date.

     (c)    Schedule A/B, Part 3 – Accounts Receivable, Item 11. The Debtor’s
            reported accounts receivable through January 23, 2020. Also, accounts
            receivable includes amounts that may be uncollectible. The Debtor is unable
            to determine with certainty what amounts will actually be collected.

     (d)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and
            Interests in Incorporated and Unincorporated Businesses, including any

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         Interest in an LLC, Partnership, or Joint Venture. Ownership interests in
         subsidiaries, partnerships, and joint ventures have been listed in Schedule
         A/B, Part 4, as unknown amounts on account of the fact that the fair market
         value of such ownership is dependent on numerous variables and factors and
         may differ significantly from its net book value.

   (e)   Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
         Collectibles. Debtor maintained an asset depreciation schedule updated
         through September 30, 2019; however, some amounts may have been listed
         as unknown due to the aforementioned circumstances.

   (f)   Schedule A/B, Part 8 – Machinery, equipment, & vehicles. Debtor
         maintained an asset depreciation schedule updated through September 30,
         2019; however, some amounts may have been listed as unknown due to the
         aforementioned circumstances.

   (g)   Schedule A/B, Part 9 – Real Property. For those Debtor that own real
         property, such owned real estate is reported at book value, net of
         accumulated depreciation through September 30, 2019. The Debtor may
         have listed certain assets as real property when such assets are in fact
         personal property, or the Debtor may have listed certain assets as personal
         property when such assets are in fact real property. Any buildings and land
         improvements, as may be applicable, are listed on Schedule A/B, Part 9,
         independent of whether the real property to which the building or land
         improvement is connected is Debtor-owned property. Additionally, some
         amounts may have been listed as unknown due to the aforementioned
         circumstances. The Debtor reserves all of its rights to re-categorize and/or
         re- characterize such asset holdings to the extent the Debtor determines that
         such holdings were improperly listed.

         Certain of the instruments reflected on Schedule A/B 55 may contain
         renewal options, guarantees of payments, options to purchase, rights of first
         refusal, rights to lease additional lands, and other miscellaneous rights. Such
         rights, powers, duties, and obligations are not separately set forth on
         Schedule A/B. The Debtor hereby expressly reserves the right to assert that
         any instrument listed on Schedule A/B 55 is an executory contract or
         unexpired lease within the meaning of section 365 of the Bankruptcy Code.
         The Debtor reserves all of its rights, claims, and causes of action with respect
         to claims associated with any contracts and agreements listed on Schedule
         A/B 55, including its right to dispute or challenge the characterization or the
         structure of any transaction, document, or instrument, including any
         intercompany agreement.

   (h)   Schedule A/B, Part 11 – All Other Assets. Debtor maintained an asset
         depreciation schedule updated through September 30, 2019; however, some
         amounts may have been listed as unknown due to the aforementioned

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         circumstances.

          For section 73 related to interests in insurance policies or annuities, values
          were derived from data received from management and no assertion can be
          made as to the accuracy of the provided data.

   (i)   Other Contingent and Unliquidated Claims or Causes of Action of Every
         Nature, including Counterclaims of the Debtor and Rights to Setoff
         Claims. In the ordinary course of its businesses, the Debtor may have
         accrued, or may subsequently accrue, certain rights to counterclaims,
         crossclaims, setoffs, credits, rebates, or refunds with its customers and
         suppliers, or potential warranty claims against its suppliers. Additionally, the
         Debtor may be party to pending litigation in which such Debtor has asserted,
         or may assert, claims as a plaintiff or counterclaims and/or crossclaims as a
         defendant. Because such claims are unknown to the Debtor and not
         quantifiable as of the Petition Date, they are not listed on Schedule A/B, Part
         11.

   (j)   Schedule D – Creditors Who Have Claims Secured by Property. Except
         as otherwise agreed pursuant to a stipulation or order entered by the Court, the
         Debtor reserves its rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be granted or perfected in
         any specific asset to a secured creditor listed on Schedule D and reserve all
         rights to dispute or challenge the secured nature of any such creditor’s claim
         or the characterization of the structure of any such transaction or any
         document or instrument related to such creditor’s claim.
         The descriptions provided in Schedule D are intended only to be a summary.
         Reference to the applicable agreements and other related relevant
         documents is necessary for a complete description of the collateral and the
         nature, extent, and priority of any liens. In certain instances, the Debtor may
         be a co-obligor, co-mortgagor, or guarantor with respect to scheduled claims
         of Watson Valve, and no claim set forth on Schedule D of the Debtor is
         intended to acknowledge claims of creditors that are otherwise satisfied or
         discharged by other entities.

   (k)   Schedule E/F – Creditors Who Have Unsecured Claims.

         Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities
         identified in Schedule E/F, Part 2, are derived from the Debtor’s books and
         records. The Debtor made a commercially reasonable attempt to set forth its
         unsecured obligations, although the actual amount of claims against the
         Debtor may vary from those liabilities represented on Schedule E/F, Part 2.
         The listed liabilities, which have been listed on a gross accounts’ payable
         basis, may not reflect the correct amount of any unsecured creditor’s allowed
         claims or the correct amount of all unsecured claims.


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         Schedule E/F, Part 2, contains information regarding certain compensation-
         related or other claims of insiders of the Debtor, with such claims being
         listed as “contingent,” “unliquidated,” and/or “disputed.” In scheduling such
         claims, the Debtor makes no representation or assertion as to the validity of
         such claims, and the Debtor reserves all rights, claims, and defenses in
         connection therewith.

         Schedule E/F, Part 2, contains information regarding threatened or pending
         litigation involving the Debtor. The amounts for these potential claims are
         listed as “undetermined” and are marked as contingent, unliquidated, and
         disputed in the Schedules and Statements.

         Schedule E/F, Part 2, does not include claims that may arise in connection
         with the rejection of any executory contracts and unexpired leases, if any,
         that may be or have been rejected.

         In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or
         were incurred on various dates or on a date or dates that are unknown to the
         Debtor or are subject to dispute. Where the determination of the date on
         which a claim arose, accrued, or was incurred would be unduly burdensome
         and costly to the Debtor’s estate, the Debtor has not listed a specific date or
         dates for such claim.

         As of the time of filing of the Schedules and Statements, the Debtor has not
         received all invoices for payables, expenses, and other liabilities that may
         have accrued prior to the Petition Date. Additionally, due to lack of access to
         records, Debtor is unable to provide confirmation of transaction activity past
         January 23, 2020. Accordingly, the information contained in Schedules D
         and E/F may be incomplete. The Debtor reserves its rights, but undertakes
         no obligations, to amend Schedules D and E/F if, or when, the Debtor
         receive such invoices.

   (l)   Schedule G – Executory Contracts and Unexpired Leases. While
         commercially reasonable efforts have been made to ensure the accuracy of
         Schedule G, inadvertent errors or omissions may have occurred.
         Additionally, relationships between the Debtor and its vendors are
         sometimes governed by a master services agreement, under which the
         Debtor also places work and purchase orders, which may be considered
         executory contracts. Disclosure of all of these purchase and work orders,
         however, is impracticable and unduly burdensome. Accordingly, to the
         extent the Debtor has determined to disclose non-confidential master services
         agreements in Schedule G, purchase and work orders placed thereunder may
         have been omitted.

         In some cases, the same supplier or provider may appear multiple times in
         Schedule

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               G. Multiple listings, if any, reflect distinct agreements between the applicable
               Debtor and such supplier or provider.

               Omission of a contract or agreement from Schedule G does not constitute an
               admission that such omitted contract or agreement is not an executory
               contract or unexpired lease. The Debtor and Watson Valve may be
               guarantors and parties to guaranty agreements regarding their prepetition
               credit facility. The guaranty obligations arising under these agreements are
               reflected on Schedules D and F only.

 5.         Schedule H – Co-Debtors. The Debtor has made reasonable efforts to locate and
            identify guaranties and other secondary liability claims (collectively,
            “Guaranties”) in each of the executory contracts, unexpired leases, secured
            financings, debt instruments and other such agreements to which the Debtor is a
            party. Where Guaranties have been identified, they have been included in the
            relevant Schedule for the Debtor. The Debtor has placed the Guaranties on
            Schedule H for both the primary obligor and the guarantor of the relevant
            obligation. Guaranties were additionally placed on Schedule D or E/F, except to the
            extent they are associated with obligations under an executory contract or unexpired
            lease identified on Schedule G. It is possible that certain Guaranties embedded in
            the Debtor’s executory contracts, unexpired leases, secured financings, debt
            instruments and other such agreements may have been inadvertently omitted.

 6.         Specific Statements Disclosures.

      (a)      Statements, Part 2, Question 3 – Payments and Transfers to Certain
               Creditors within 90 Days. The dates set forth in the “Dates” column relate
               to one of the following: (i) the date of a wire transfer; (ii) the date of an
               “ACH” processing; or (iii) the check issuance date. Prior to the Petition Date, the
               Debtor maintained a centralized cash management system through which the Debtor
               made payments on behalf of itself or Watson Valve. Consequently, for the purpose
               of this schedule, payments are recorded on the Debtor’s Statements, Part 2,
               Question 3, based on the Debtor’s bank account owned.

               Payments to the Debtor’s bankruptcy professionals, insiders, intercompany
               transactions, wage garnishments and donations are not included in the
               payments to creditors. Payments to the aforementioned parties are included
               in the following locations within the Statements: bankruptcy professionals
               (Question 11), insider (Question 4), intercompany (Question 4).

      (b)      Statements, Part 2, Question 4 – Payments and Transfers to Insiders.
               To the extent: (i) a person qualified as an “insider” in the year prior to the
               Petition Date, but later resigned their insider status or (ii) did not begin the
               year as an insider, but later became an insider, the Debtor has only listed
               those payments made while such person was defined as an insider in
               Statements, Part 2, Question 4. Business travel arrangements, including

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               flights and hotels, for certain of the Debtor’s directors and officers have been
               paid for by the Debtor’s corporate credit card. Such payments are listed in
               the response to Question 4 on the Statements.

      (c)      Statements, Part 2, Question 6 – Setoffs. The Debtor routinely incurs
               setoffs and net payments and record offsets in the ordinary course of
               business. Such setoffs, nettings and offsets may occur due to a variety of
               transactions or disputes including, but not limited to, joint- interest billings,
               intercompany transactions, counterparty settlements, pricing discrepancies,
               warranties, refunds, negotiations, or disputes between the Debtor and its
               operating partners or suppliers. These ordinary course setoffs and nettings
               are common to the industry. Due to the voluminous nature of setoffs and
               nettings, it would be unduly burdensome and costly for the Debtor to list
               each such transaction. Therefore, ordinary course set- offs are excluded from
               the Debtor’s responses to Question 6 of the Statements

      (d)      Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtor
               does not know of any workers’ compensation claims in response to this
               question, aside from any workers’ compensation claims that may arise from
               the January 24 explosion. However, if any become known the Debtor
               maintains that disclosure would be in violation of certain laws including
               HIPAA (Health Insurance Portability and Accountability Act of 1996).

      (e)      Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
               payments provided in Question 11 are reported for the joint representation
               of the Debtor and Watson Valve. The Debtor believes that it would be an
               inefficient use of the assets of the estates to allocate these payments on a
               Debtor-by-Debtor basis.

      (f)      Statements, Part 6, Question 13 – Transfers not already listed on this
               statement. Payments to insiders disclosed for purposes of transparency but
               Debtor contends that these are ordinary payments.

      (g)      Statements, Part 13, Question 30 – Payments, Distributions, or
               Withdrawals Credited or Given to Insiders. Distributions by the Debtor
               to directors and officers are listed on the attachment to Question 4.
 7.         Litigants

  As a result of the explosion that occurred on or about January 24, 2020, many
  surrounding homes and businesses incurred damage including the loss of life and
  physical injuries to potentially many litigants. Best efforts have been made to notice
  many surrounding homes, businesses and people affected by the blast but cannot
  guarantee that all effected by the explosion were noticed.




                                              12
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      These Global Notes are in addition to the specific notes set forth in the Schedules
and Statements of the individual Debtor entities. The fact that the Debtor has prepared
a Global Note with respect to a particular Schedule or Statement and not as to others does
not reflect and should not be interpreted as a decision by the Debtor to exclude the
applicability of such Global Note to any or all of the Debtor’s remaining Schedules or
Statements, as appropriate. Disclosure of information in one Schedule, one Statement,
or an exhibit or attachment to a Schedule or Statement, even if incorrectly placed, shall
be deemed to be disclosed in the correct Schedule, Statement, exhibit, or attachment.




                                           13
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 Fill in this information to identify the case:

 Debtor name            Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               20-30967
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       33,095,311.73

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       33,095,311.73


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,218,120.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           144,921.78

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,075,032.64


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,438,074.42




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-30967
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                              $2,008.83



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   Cash - TEXAS CAPITAL OPERATING                           Checking                         0594                                  $852,740.39




            3.2.   Cash - TEXAS CAPITAL PAYOLL                              Checking                         0578                                     $5,426.48




            3.3.   Cash - Compass Bank Operating                            Checking                         6575                                   $19,119.24




            3.4.   Cash - Compass Bank Payroll                              Checking                                                                          $0.00




            3.5.   Cash - Compass Money Market                              Checking                         6605                                             $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $879,294.94
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor            Watson Grinding & Manufacturing Co.                                            Case number (If known) 20-30967
                   Name



 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Equipment Deposit - Dunn's Testing                                                                                      $317,423.10




            8.2.     Prepaid Insurance                                                                                                       $226,068.40




            8.3.     Prepaid Expenses                                                                                                        $393,085.60




 9.         Total of Part 2.                                                                                                             $936,577.10
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        2,315,107.48    -                             50,000.00 = ....                $2,265,107.48
                                              face amount                           doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                           $2,265,107.48
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         Watson Grinding & Manufacturing Co.                                              Case number (If known) 20-30967
                Name

 19.       Raw materials
           Inventory - POWDER                                                            $127,992.00                                           Unknown


           Materials and Supplies                                                        $223,111.02                                           Unknown


           Materials - Coating
           Depart.                                                                        $17,314.81                                           Unknown


           Materials - Grinding
           Depart.                                                                         $7,263.75                                           Unknown


           Materials - Ball Lapping
           Depar                                                                           $1,961.65                                           Unknown



 20.       Work in progress
           Work in Progress - Srvc
           Work                                                                         $1,203,243.67                                          Unknown



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                     $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Watson Grinding & Manufacturing Co.                                           Case number (If known) 20-30967
                Name

           Office furniture - See Attached Exhibit B-39.                               Unknown                                              Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment - See Attached Exhibit B-41.                               Unknown                                              Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     (2) 2010 Crown Victorias, 2001 F-250.
                     and 2006 GMC utility truck.                                        $4,239.99    Appraisal                              $4,239.99



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                             $4,239.99
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Watson Grinding & Manufacturing Co.                                           Case number (If known) 20-30967
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Land and
                     improvement - 4522
                     Steffani Houston, TX
                     77041                                Fee simple                   Unknown                                               Unknown


            55.2.
                     Land - 4522 Steffani
                     Houston, TX 77041                                                 Unknown                                               Unknown


            55.3.    Machinery &
                     Equipment - See
                     Attached Exhibit
                     B-50.                                                             Unknown                                               Unknown




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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 Debtor         Watson Grinding & Manufacturing Co.                                           Case number (If known) 20-30967
                Name

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
           Insurance Claim Receipt:                                       3,000,000.00 -                                  0.00 =
           United Fire Lloyds - Commercial                            Total face amount    doubtful or uncollectible amount
           General Liability - Policy No.
           85319121 - $2,000,000.00
           United Fire Lloyds - Automobile
           Liability - Policy No. 85319121 -
           $1,000,000.00                                                                                                                  $3,000,000.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           United Fire Lloyds - Commercial General Liability -
           Policy No. 85319121
           Payment received on 02/03/2020 for full policy value -
           $2,000,000.00                                                                                                                             $0.00


           United Fire Lloyds - Automobile Liability - Policy No.
           85319121
           Payment received on 02/03/2020 for full policy value -
           $1,000,000.00                                                                                                                             $0.00


           Navigators Insurance Company - Umbrella Liability -
           Policy No. HO19EXC740459IV                                                                                                     $5,000,000.00


           Texas Mutual Insurance Co. - Workers Compensation
           and Employers' Liability - Policy No. 0001218584                                                                               $1,000,000.00


           RSUI Indemnity Company - Excess Liability - Policy No.
           NHA088194                                                                                                                    $20,000,000.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Intercompany Receivable - Watson Valves                                                                                             Unknown



           Accounts Receivable - Other                                                                                                         $7,997.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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 Debtor         Watson Grinding & Manufacturing Co.                                           Case number (If known) 20-30967
                Name



           Accounts Receivable-Employees                                                                                                $2,095.22




 78.       Total of Part 11.                                                                                                    $29,010,092.22
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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 Debtor          Watson Grinding & Manufacturing Co.                                                                 Case number (If known) 20-30967
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $879,294.94

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $936,577.10

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,265,107.48

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $4,239.99

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $29,010,092.22

 91. Total. Add lines 80 through 90 for each column                                                       $33,095,311.73             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $33,095,311.73




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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                                   Office Furniture & Fixtures - Depreciation Schedule as of 09.30.2019
Asset ID Location            Description
                       857 IPAD
                       877 OptiPlex 390
                       881 Zabra GK420t
                       883 HP Designjet 510
                       898 Dell Optiplex #1
                       899 Dell Optiplex #2
                       900 Dell Optiplex #3
                       901 Dell Optiplex #4
                       902 Dell K1DVS Backup Tape Drive
                       904 Dell Optiplex 390 #1
                       905 Dell Optiplex 390 #2
                       906 Dell Optiplex 390 #3
                       907 Dell Optiplex 390 #4
                       908 Dell Optiplex 390 #5
                       909 Dell Optiplex 390 #6
                       910 Cisco Ethernet Switch
                       911 Cisco Managed Switch
                       912 Cisco 1921 Integrated Services Router #1
                       913 Cisco 1921 Integrated Services Router #2
                       923 Dell Latitude E6520 Computer
                       924 Neo-Flex Dual LCD Lift Stand
                       925 Dell E Series E2211H, Widescreen 22" Monitor
                       926 Two LS2208 USB Bar Code Scanners
                       929 Apple IPAD
                       930 Server Equipment
                       931 Server Equipment
                       948 HP LaserJet CP522N Color Printer/Paper Try
                       953 OptiPlex 390 Small Form Faxtor, Fast Track FCG14
                       954 Dell Latitude E5420
                       955 Dell Latitude E5420
                       956 IPAD WI-FI Cellular 64GB Black
                       983 CiscoSG500-28P Ethernet Switch
                       984 Cisco Systems 10Gbase-CU
                       989 Computer Equipment to Upgrade IT System
                       990 Computer Equipment to Upgrade IT System
                       991 Computer Equipmen to Upgrade IT System
                      1,023 Intel Xeon Unit - #1
                      1,024 Intel Xeon Unit - #2
                      1,025 Intel Xeon Unit - #3
                      1,026 Company Wide Wireless Setup
                      1,052 Computer Equipment
                      1,107 New Computer for Plume Sensor (Coating Dept)
                      1,114 Biometrics Scanners
                      1,121 Dell EMM CTRL MD12 Series Computer
                      1,125 Dell Virtual Loadmaster 200
                      1,129 Palo Alto Network Firewall
                      1,160 Server Upgrade
                      1,161 New File Server
                       305 9 New Cell Phones w/Nextel
                       321 Viewsonic 17" CLR LCD
                       338 Global Commerce Chair
                       340 Dell Computer (O.Cloutier)
                       341 Gateway Computer - Crystal
                       342 Gateway Computer - Chris
                       343 Gateway Computer - Jason
                       360 Telephone Hub Expansion
                       362 Cannon 7301 Fax Machine
                       373 Office Desk for Rick
                       378 Two LCD Televisions
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   388 Furniture for Upper Offices
   389 Intel 3GB AEB 630 DX Processor
   396 Global Shop Computer 1
   397 Global Shop Computer 2
   398 Global Shop Computer 3
   399 Global Shop Computer 4
   400 Global Shop Computer 5
   402 Projector (Training on Global Systems)
   412 Micro Center Laser Jet 5
   413 Micro Center Acer 17" Monitor
   414 Micro Center Powerspec
   420 Software & Service - Global Shop Solutions
   442 One Powerspec 7121 Computer
   443 Powerspec 7121 Computer
   444 One Powerspec 7121 Computer
   445 One Acerac 5630 Computer
   448 Zoll Defribrulator
   450 Hailey's Desk
   451 Fifteen Shop Workbenches
   460 AutoCad Software
   538 Dual Monitor-Chris
   543 Auto Cad Software
   546 New Computer from EBS (Inv#15060)
   551 New Computer-John Watson
   552 New Computer-Bob White
   553 Kamel Software for Server
   554 New Desk-Bill Feree
   596 Laptop for John Barr
   599 Dell Computer w/UPS
   602 Dell Computer
   603 Hardware for Backup Computer
   604 Router for Network
   605 42" x 12" Tall Upright Shelves
   606 2' x 20' Storage Containers for Omer Cloutier
   608 Wireless System
   609 Refrigerator For Shop
   620 John - Computer
   623 Mobile Security Computer Cabinet
   624 Monitor/Mount for Lab
   629 One Computer for John Barr in New Lab
   630 2 New Computers for JB Lab
   633 APC Backup UPS
   637 Rack & Cable for Lab
   638 Smart 450V UPS System for Lab
   639 Gigabit Switch for Lab
   641 Custom Computer w/Image Capturing
   642 Furniture for Lab
   645 Power Supply for Lab
   646 Workstation w/2 24"Monitors & 4 Terrabyte Server
   655 Wireless System for Lab
   667 Webcam
   670 Fotosearch Stock Photography Graphics Software
   671 Wasp Bar Code Scanner
   673 MS Standard-220 VA Dell Smart UPS by APC
   674 One OLG Win Smll Bus SV Std 2008 SNGl NL 5 CLT Qualified
   675 One OLP Win Small Bus Cal Ste 2008 SNGL 5 NL Uer Cal
   676 One OLP Win Small Bus Cal Ste 2008 SNGL 20 NL User Cal Qualified
   677 ESSEN Exp Be Agt F Win Syss 12.5 Win P Svr Bndl Std Lic
   678 Belkin Omni View Pro3 8 Port KVM Switch
   679 IPAQ's For Metal Hardness Tester
   680 Quad Core Xeon E5-420 Processor Computer System
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   681 Dell 4210 HD 42U Rack with Doors
   682 Linksys Wireless
   683 Global Shop Wireless
   684 New Computer-Sandy
   685 New Computer - CNC
   686 Dell E209WFP 20 Inch Flat Panel Monitor
   687 Adobe Acrobat 9
   688 Global Shop Wireless
   689 Operating System for New Server
   708 Server Purchased From Raxco Software
   709 Computer System Purchased from Dell
   710 Tool Crib Phone Sys
   711 Dell Optiplex 760 (Inv XDDR95X75)
   712 OLP Win SVR (Inv. No. XDCCNJ1X5)
   713 Dell Quad Core Xeon X3363 Processor (Inv. XDCW5PDJ3)
   714 Intel Pro 1000PT Dual Port Server Adapter (Order #861790651)
   715 Electronic Door Operator (From Lunsford)
   716 Dell Opti 360 Minitower (Inv XD9XDMJM2)
   717 Dell Opti 360 Minitower (Inv XDCXDMJJ8)
   722 Lawnmover/Weedeat er
   723 Camera & Accessories for JB Lab
   724 One Copy Microsoft Project Software for RLW (Hatch Project)
   725 One copy Microsoft Project Software for RLW (Hatch Project)
   726 New Dell Computer - Inv. XDKTM76M2
   727 TR-100-94836 48 x 36 Pressure Cabinet
   728 Used Teardrop Pallet Rack
   738 Blinds for Windows in Chris Williams New Office
   740 Desk for Chris Williams New Office
   741 Desk Chair - Chris Williams new Office
   742 Lawn Tractor
   743 Weight-Cal for John Barr
   745 New Monitor
   747 Scanner
   748 Computer Monitor
   749 Dell Computer System
   751 Monitor For Shipping Office
   753 Computer - Julio
   754 3 Hard Drives
   755 Printer (Returned by Kelly)
   756 New Desk for Julio (Lindsey's Office World)
   757 Computer Racks for JB Lab
   758 Apple IPAD - J. Watson
   759 Xerox Printer - C. Williams
   762 4 Port Gigabit Secure VPN Router-Spray Coat Shop
   763 MC1000-SFP Media Converter
   764 Mini GBIC Module for Any Standard Ethernet Switch
   765 MC1000-SFP Media Converter
   768 Cross-Cut Paper Shredder (Accounting Office)
   818 Phone - New Bldg
   819 Videoconf. System
   823 Camera Mounts
   826 6 Webcams-Sales Staff
   832 Black IPAD
   834 New Laptop - David Dunn
   835 New 27" LCD Monitor
   838 HP LaserJet Pro P1606DN Printer
   839 Neo-Flex Dual LCD Lift Stand
   840 Two 22" Wide Screen Monitors
   841 28 Port SG 300-28P Gigabit PoE Managed Switch
   842 OptiPlex 280 Desktop w/Windows 7
   843 Verizon IPHONE
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                                                     844 4 IPADS for Sales Team
                                                     845 New Fax Machine - Sandy's Office
                                                     846 HP OfficeJet 6500 Printer
                                                     852 One Used Pallet Rack (42" x 10')
                                                     853 One Used Pallet Rack (42" x 96") Uprights
                                                     854 Furniture for GVC Dept
                                                     865 Security Camera's From Tabob Enterprises
                                                     867 Computer (K. Watson - moved to Reception Area)
                                                     890 Executive Desk #1
                                                     891 Executive Desk #2
                                                     892 Executive Desk #3
                                                     893 Executive Chair #1
                                                     894 Executive Chair #2
                                                     895 Executive Chair #3
                                                     896 Mahogany File Cabinet
                                                     897 2 Black Guest Chairs
                                                     922 Shelving for Lab
                                                     932 MKG Display
                                                     933 Trade Show Display
                                                     943 Security Cameras & Equipment
                                                     949 2 Chairs for Trade Booth Displays
                                                     959 Work Tables & Chairs from Floyd Webb Office Furniture
                                                     993 Safe to Protect Leased Equipment
                                                    1,022 Universal Clamping Device (John Barr)
                                                    1,027 Buyout - Shoretel Phone System
                                                    1,034 Security Cameras & Setup (4627 Steffani Ln - Bob's Building)


NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date. Whereas the existence and or condition of assets
  cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be determined through proceeds of insurance settlement it is deemed for the purposes of this
                                                                      schedule that the net asset value as of the current date is unknown.
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                                                                               Leasehold Improvements - Depreciation Schedule as of 09.30.2019
Asset ID Location                                                                                    Description
                                                                                                209 1890 Sofa, Royal Navy - Vinal Tufted
New building
                                                                                                212 4 Barstools - 30" Metal/Black Vinyl
New building
                                                                                                213 1 Lateral File Cabinet - 2 drawer/Gray
New building
                                                                                                214 6 Letter File Cabinets - 4 Drawer/Gray
New building
                                                                                                215 7 Legal File Cabinets - 4 Drawer/Gray
New building
                                                                                                216 2 Chairs - Faustinos Barrell /Blue/Mahogany
New building
                                                                                                217 Octagon Table - Mahogany
New building
                                                                                                218 Desk - Right U /Mahogany
New building
                                                                                                219 Desk - Left U /Mahogany
New building
                                                                                                220 2 Hutches - Mahogany
New building
                                                                                                222 10' DMI Conference Table/Mahogany
New building
                                                                                                223 Desk - Exec. L /Laminate Mahogany
New building
                                                                                                224 3 DMI L Shape Promo /Mahogany
New building
                                                                                                225 Bookcase 7' Global /Mahogany
New building
                                                                                                226 Wall table - DMI /Mahogany
New building
                                                                                                227 Bookcase - 30" Mahogany
New building
                                                                                                228 Bookcase - 72" Mahogany
New building
                                                                                                229 Desk L shape - Cherry top/charcoal base
New building
                                                                                                230 20 Chairs - Fostinos /Blue/Mahogany
New building
                                                                                                231 3 Chairs - Troy Executive /Navy
New building
                                                                                                233 Table Lamp
New building   240   1 Chair - Global Sennia Executive Leather /Blue
New building   241   2 Chair-stands - Fabric Grey/Base Blue Gray
New building   242   Sofa-stand - Fabric Grey/Base Blue Gray
New building
243 New building                                                                                     Coffee Table/Gray
                                                                                                244 2 End Tables - 25"x 25" /Gray
New building
                                                                                                270 6 FT. Mahogony Exec Desk
                                                                                                272 Captain's Guest Chairs (2)
                                                                                               1,053 Fitness Room TV-1
                                                                                               1,054 Fitness Room TV-2
                                                                                               1,055 Fitness Room TV-3
                                                                                               1,056 Fitness Room TV-4
                                                                                               1,057 Fitness Room TV-5
                                                                                               1,058 Fitness Room Laundry Equipment
                                                                                               1,059 Amplifier & Speaker
                                                                                               1,061 Fitness Room Equipment (From Fitness Unlimited)
                                                                                               1,075 Fitness Room Lockers
                                                                                               1,079 One Wall Mounted Smart HDTV
                                                                                               1,080 Scribe Mobile Marker Board 30" x 54"
                                                                                               1,096 Neon Lighting in Gym
                                                                                               1,099 Movable Marker Board
                                                                                               1,100 One Incline Lever Row - (SKU PPL-940)
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                                                                                                  1,101 Hammer Iso-LAT Bench Press Arm (Right & Left)
                                                                                                  1,106 Projector
                                                                                                  1,112 LCD Industrial Computer Cabinet - #1
                                                                                                  1,113 LCD Industrial Computer Cabinet #2
                                                                                                  1,115 Knoll Task Chair
                                                                                                  1,124 Dyson Airblade dB Hand Dryer
                                                                                                  1,144 Warehouse Rack
1,159   New Gym Equipment      09/01/2017 from   Peloton
1,172   Linear Leg Press -     06/30/2019

                                                                                                   736 A/C - Chris Williams New Office
                                                                                                   737 Buildout of Chris Williams New Office
                                                                                                   739 Door Lock for Chris Williams New Office
                                                                                                   804 Buildout Chris Office
                                                                                                   827 Epoxy Flooring - CNC Shop
                                                                                                   855 A/C Unit
1,131   4522 Steffani Lane (Land Purchase)
                                                                                                   982 Countertops for John Barr's lab
                                                                                                   992 Laminate Countertops and Installation
                                                                                                  1,005 14 x 6+3 Cantilever Gate with Razor Wire
                                                                                                  1,010 Chain Link Fence around John's Parking Lot
                                                                                                  1,017 LC 6 Strand Multimode Custom Length 62.5/125 Fiber Optics for Lab
                                                                                                  1,018 5Ton 460 Volt Rhem Unit A/C
                                                                                                  1,028 Restroom Remodel - 1st Bay
                                                                                                  1,033 Remodel & Make Ready 4506 Steffani Lane (Jason's Building)
                                                                                                  1,035 Six Eubank 5 Ton Systems - Bob's Building
                                                                                                  1,036 One Eubank Unit - Bob's Building
                                                                                                  1,037 One Solid System Electrical Heat
                                                                                                  1,038 Alarm System - Bob's Building
                                                                                                  1,039 4627 Steffani Lane (Bob's Building)
                                                                                                  1,040 Cabinets (4627 Steffani Lane)
                                                                                                  1,041 Two 12 x 12 Roll Up Doors (4627 Steffani)
                                                                                                  1,042 One 12 x 12 Roll Up Door (4627 Steffani Lane)
                                                                                                  1,043 One 20 x 18 Roll Up Door (4627 Steffani Lane)
                                                                                                  1,044 220' of 6+3 Chain Link Fence (4627 Steffani)
                                                                                                  1,060 Amercan Standard 7 1/2 Ton System - Ball Grinding Dept
                                                                                                  1,062 New Asphalt Parking Lot
                                                                                                  1,067 Fabrication and Installation of Illuminated Building Sign for WGM
                                                                                                  1,068 Construction - Workout Room & Shower
                                                                                                  1,069 Construction Work to Connect and Extend Water Curtains
                                                                                                  1,070 A/C In Fitness Room
                                                                                                  1,085 CASCO A/C-1
                                                                                                  1,086 CASCO A/C-2
                                                                                                  1,087 CASCO A/C-3
                                                                                                  1,088 CASCO A/C-4
                                                                                                  1,089 CASCO A/C-5
                                                                                                  1,090 CASCO A/C-6
                                                                                                  1,091 CASCO A/C-7
                                                                                                  1,092 CASCO A/C-8
                                                                                                  1,093 Fabricate/Install 8' 9" x 14' x 48" Fenced In Area for Thermal Spray Powder
                                                                                                  1,094 3rd Bay Improvements
                                                                                                  1,097 Construction - Bathrooms in Gym
                                                                                                  1,116 4th Bay A/C Unit
                                                                                                  1,119 Sidewalk - CNC Building
                                                                                                  1,122 Production Costs New Office (George & Robert)
                                                                                                  1,139 Air Conditioning Unit
                                                                                                  1,140 Air Conditioning Unit
                                                                                                  1,141 Fence for Area Behind Lab
                                                                                                  1,145 Coburns A/C
                                                                                                  1,153 New A/C - Rhem 13 Seer
                                                                                                  1,154 New Ductless 2 Ton System
                                                                                                  1,155 New A/C Unit for Coating Booth
                                                                                                  1,156 New A/C - 4th Bay
                                                                                                  1,165 2 - 5 Ton 460 Volt 8 KW Heating
                                                                                                  1,167 Fence Around 2 AirConditioners
1,169   18 ft x 26 ft Concrete Slab for Holding Tanks
1,171 First Bay A/C                06/15/2019              SL-FM   10.0     3,231   3,231   107   107               3,124                 3
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                                                                                     164 Leasehold Improvements - Slab
                                                                                     165 Leasehold Improvements - Slab
                                                                                     166 Leasehold Improvements - Elec
                                                                                     167 Leasehold Improvements - Elec
                                                                                     168 Wiring
                                                                                     169 Office Remodeling
                                                                                     170 Office Remodeling
                                                                                     171 Office Remodeling
                                                                                     172 Office Remodeling
                                                                                     173 Parking Lot Improvement
                                                                                     174 Office Remodeling
                                                                                     175 Office Remodeling
                                                                                     176 Office Remodeling
                                                                                     177 Welding Shop Addition
                                                                                     178 Conference Room Remodeling
                                                                                     179 Air Compressor - Office & Shop
                                                                                     180 A/C Duct Work - Shop & Main Offices
                                                                                     182 Land Survey Cost
                                                                                     195 Portable Storage Building #1
                                                                                     197 Building
                                                                                     200 Portable Storage Building #2
                                                                                     234 Blinds - New Office
New building
                                                                                     235 Various Cabinets and Counter Tops
236 2 Pass-thru    03/08/2001 Countertops New building
237 Bathroom cabinets & 03/09/2001 vanity doors New building

238 Restroom FRP            03/09/2001 New building
251 Parking Lot   05/02/2001
Improvement - added crushed rock Subleased Property
                                                                 256                     Sprinkler System
                                                                 260                     Land Survey Costs
                                                                                         (Tax Asset)
                                                                 308                     Air Conditioner for
                                                                                         Shop
Shop Area
                                                                 312                     2nd A/C for Shop
                                                                 333                     Two Roll Up Doors
                                                                                         w/Wind Lock
                                                                 355                     2 ICP Packaged A/C
                                                                                         Units
                                                                                     356 Rolling Bay Doors for Main Shop w/Plastic Covers
                                                                                     357 2005 Large Part Spray Shop
                                                                                     358 Improvement to Old Shop
                                                                                     365 Upper Offices
                                                                                     371 New Duct Work in Shop
                                                                                     372 A/C Unit
                                                                                     381 A/C Unit
                                                                                     385 Five Ton A/C Unit
                                                                                     386 Duct Work - Upper Offices
                                                                                     421 Electrical Work - New Building
                                                                                     422 Restrooms - New Building
                                                                                     423 Six A/C Unit Frames
                                                                                     424 Plumbing - New Building
                                                                                     425 HVAC Air Conditioner - New Building
                                                                                     426 Alarm System - New Building
                                                                                     427 Fence Around New Building
                                                                                     428 Landscaping for New Building
                                                                                     432 A/C Units-New Building
                                                                                     433 Insulation-New Building
                                                                                     434 Centerpoint Energy Electrical Pole
                                                                                     447 New Office in New Building
                                                                                     455 Sidewalks & Curbs - New Building Area
                                                                                     456 Concrete Parking Area - New Building
                                                                                     457 Landscaping - New Building
                                                                                     458 A/C New Building
                                                                                     462 Concrete Slab for Crane
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                      463 Transformers for Machines in new Building
                      470 Iron Fence Along Sidewalk
                      473 Turf for New Building
                      474 10 ton a/c unit for new building
                      480 8 Tap Transformer
                      494 One 3 Ton A/C
                      495 One 3 Ton A/C
                      496 One 3 Ton A/C
                      497 One 3 Ton A/C
                      510 Ductwork Changes to Accomodate New A/C Units
                      531 3 New A/C Units
                      556 New Office
                      557 Roll-Up Slot Door
                      558 New Cabinetry for Shop
                      559 Chain Link Fence
                      560 5 Ton A/C Unit - 1 of 4
                      561 5 Ton A/C Unit - 2 or 4
                      562 5 Ton A/C Unit - 3 of 4
                      563 5 Ton A/C Unit- 4 of 4
                      564 Countertop for New Office
                      568 Hot Water Heater
                      569 A/C Unit
                      570 3 Ton A/C Unit
                      571 25 Ton A/C Unit
                      588 Electrical Work on Gus' Shop
                      589 New Office in NC Shop
                      591 Construction to Obtain OCC Permit
                      618 Three Eye Wash Stations
                      619 Installation of Safey Guardrails
                      621 Phone cabling for leased phone system
                      622 DeHumidifier for Lab
                      625 Sign For Lab
                      627 Construction - New Lab for JB
                      631 Construction - Gus' Shop
                      632 PSLIP TOP w/#15 Sink
                      650 Construction - New Space in Valve Shop
                      653 Installation of Machine Safety Guards
                      656 Laminate Coutertops and Cabinets for Lab
                      657 Sliding Shelves in Lab
                      658 Installation of Laminate in Drawer Facings
                      659 Alarm System
                      660 Ventilation System for Lab
                      661 Sink for JB Lab
                      698 Robot & Dust Collector Bldg Imp - Tax - Sec 1033 - #516, 528, 532, 536, 542
                      700 Capitalized Legal - Bldg (Tax Asset)
                      701 Capitalized Legal - Bldg (Tx Asset)
                      702 Capitalized Legal - Bldg (Tax Asset)
                      703 Capitalized Legal - Bldg (Tax Asset)
                      704 Capitalized Legal - Bldg (Tax Asset)
                      705 Two 4 piece Machine Guards for Blanchers
                      706 Two Machine Guards (one for each Ball Lapper w/Bearings)
                      707 Back Splash Cover for Springfield
                      719 Tool Crib
                      721 Laminate Countertop for JB Lab
                      735 Tool Room Door, Locks, Etc.
                      750 Chain Link/Barb Wire Fence
                      770 Building - Automation Plus
                      771 Bldg - Automation Plus - Eqpt Support
                      772 Sidewalks/Paving - Automation Plus
                      773 ADA Ramp
                      795 Electrical Pole
                      796 Building - Other Vendors
                      797 Ducts/Hoods (Diamond)
                      798 Eqpt Piping (Firestone Div)
                      800 Ducts/Dust Collect (Process)
                      802 Signs/Banner
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                                                                                                      803 Fire Lockbox
                                                                                                      805 Cabling
                                                                                                      806 A/C Lab
                                                                                                      807 Landscaping
                                                                                                      808 Security System
                                                                                                      825 External Hard Drive for CNC Shop
                                                                                                      828 Epoxy Flooring - New Shop
                                                                                                      863 New Pipeline for building
                                                                                                      870 10 Ton Air-Handle w/26KW Electric Heating and Spriral Pipes
                                                                                                      872 Electrical Work - Spray Coat Bldg
                                                                                                      885 New Maintenance Building
                                                                                                      886 Room Addition in New Building
                                                                                                      887 Install New Electrical Panel, Wire, Breaker
                                                                                                      888 Install Fiber Optic Conduit Under Road from Building to Building
                                                                                                      889 New Pack Unit 460 Vol. 3 Trace R-22 A/C System
                                                                                                      918 A/C Unit - Model #24BB360A0045201 0; Serial #0412E04515
                                                                                                      919 A/C Unit - Model #24BB260A0052010 - Serial #0412E04511
                                                                                                      935 Doors for New Robotic Room
                                                                                                      941 Lab Addition
                                                                                                      942 Roofing for Lab Addition
                                                                                                      945 Buildout of Area Next to Carpentry &Maintenance Area
                                                                                                      946 Overhead Door in Carpentry Area
                                                                                                      947 Buildout of Carpentry & Maintenance Area
                                                                                                      957 Eubank 5 Ton A/C Unit from AX AirConditioning & Heating for New Building
                                                                                                      958 Eubank 5 Ton A/C Unit from AX Aircontioning & Heating for New Building
                                                                                                      971 Blast Room (From Canfield & Joseph, Inc)
                                                                                                      973 Buildout of Cabinets outside of JB's Lab
                                                                                                    1,104 Remove & Install a new Overhead Garage Door



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                          Machinery & Equipment - Depreciation Schedule as of 09.30.2019
Asset ID Location                            Description
                                        511 2006 TCM FG25T7
                                             FORKLIFT
                                        512 2006 TCM FG25T7
                                             FORKLIFT
                                        994 Capitalization of
                                             Leased Equipment
                                             (Faro Equipment)
                                        995 Hall Flowmeter
                                             AS-300
                                        996 30" Seat Table
                                             w/Explosion Proof
                                             3ph 480v motor
                                        997 30' Seat Table
                                             w/Explosion Proof 3
                                             ph 480v Motor
                                        998 Doosan Infractore MYNX 5400
                                        999 2-Ton Base Mount Jib Crane
                                       1,001 Lathe
                                       1,002 JB Lab Equipment from Sandelius
                                       1,003 Tool Holder Base
                                       1,004 AT-1200 Powder Feeder
                                       1,006 JLG Scissor Lift Model JLG:2033E3
                                       1,009 ROMI M27 x 80 (Purchased from LNS Turbo, Inc.)
                                       1,011 Renu Gibbs 3D Mill & Lathe
                                       1,012 T Portable Fune Extractor w/Tracker Arm
                                       1,013 HF2000 Hi Freq Unit (Used) from Universal Thermal Services
                                       1,014 1WD78 Air Compressor from Grainger
                                       1,015 1/2" Plate Parts and Drain Tank for Blancher Machine
                                       1,016 Used Plasma Extension
                                       1,019 Golf Cart Purchased from Jeff Hubbard
                                       1,029 6 Station Seat Table w/Explosion Proof Drive Motor and Gearbox
                                       1,031 Golf Car (Golf Cars of Katy)
                                       1,032 Springfield Grinder w/Slide Curtains & Fabrications
                                       1,045 27" x 2--" Ryazan Model 1M63N Heavy Duty Engine Lathe S/N 3909
                                       1,046 Cincinnati Plain OD Grinder from Bardons & Oliver (Bob's Bldg)
                                       1,047 5 Ton Bldg Rail Crane (Bob's Building)
                                       1,048 48" x 72" Cincinnati Plain Cylindrical Grinder (S/N 51G-794266-1) Stock #11302
                                       1,049 Overhead Crane, Top Riding, Single Girder, Electric, Individual Drive (AAA Used Cranes)
                                       1,050 Used 42" Blanchard No. 18-42 Rotary Surface Grinder (S/N 7014, MFD 1952, ID 14461)
                                       1,051 Acer Ultima Milling Machine (Rex Supply Co)
                                       1,063 Plasma System Cutmaster
                                       1,064 Forklift Parts (Engine, Core, Ring Gear)
                                       1,065 ACH Welding Machine w/2" Round Bumper
                                       1,066 24 X 240 Cincinnati Plain Roll Grinder
                                       1,071 Overhead Crane in Bob's Building
                                       1,072 Jib Crane in Bob's Building
                                       1,073 4th Bay Grinding Station
                                       1,074 Jib Crane
                                       1,081 MAX-EF-24-1 24" Exhaust Fan With 1 HP/3PH TEFC Motor
                                       1,082 Rebuild 18" x 60" Magnetic Chuck
                                       1,083 Fabricate/Install Galvanized Grating for Booths 2, 4 and 6
                                       1,084 DP716S00188SC11 DP700 16 x 188 Lathe Dro Package
                                       1,095 Superline DC/SPL Motor (Ser. #W2091700V)
                                       1,108 AccuScan XE200i 2 Probe Inspection System
                                       1,109 Fabricate/Install 3 Galvanized Bar Grating For Spray Booth
                                       1,110 Safety Guards (Ferndale Machinery)
                                       1,117 48" Spitfire Lapping Machine
                                       1,118 Computer Unit - Coating Dept
                                       1,123 New Motor
                                       1,126 Cabinet
                                       1,127 Miller Multimatic 200
                                       1,128 ROMI M27 x 80 RH Rear Machine
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                                   1,130 Pump Booster (3/4 Horsepower, 208-230/460V)
                                   1,132 Optima Model OP-900B
                                   1,133 Tripp Lite SRCOOL12K Portable Cooling/Air Conditioner Stand Alone
                                   1,134 Tool & Cutter Cincinnati Grinder
                                   1,135 Cabinet Style Dust Collector
                                   1,136 Machinery Computer Unit
                                   1,142 Varco Lapping Table
                                   1,143 Matison Hydraulic Grinder
                                   1,146 Johnson Elec - Cost to get Grinders up and running
                                   1,147 Weiler E70X3000 CNC Flat Bed Teach Lathe
                                   1,148 CNC Hollow Spindle Lathe, Weiler 28" x 118" MDL, E70x3000
                                   1,149 Electric Chain Hoist
                                   1,150 Hyundai 2.4L Eng; Maximal FL25T-MWF3 Forklift
                                   1,157 New Cooling Tower
                                   1,158 Equipment for New Cooling Tower
                                   1,162 Commercial Generator (Model SD100 100KW 480V)
                                   1,163 Air-Compressor (From Relevant Solutions)
                                   1,166 ROMI Chip Converter
                                   1,168 Capitalized Repair Costs on Air Compressor
                                   1,170 Vanta M Series Handheld XRF Analyzer
                                   1,173 Mobile Device to Control Spray Booth Robots
81 17" Mazak Lathe
                                      92 Computer Tape Lathe
                                      93 30" Comparaitor
                                      94 Worthington Air Comp
                                      96 Tape Lathe
                                      98 MC Lathe
                                    106 20" x 120 Grinder
                                    108 Lathe #2900-25 25x12
                                    109 10 x 48 Cinn Grinder
                                    110 10 x 72 Cinn OD Grinder
                                    112 Ball Lapping Machine
                                    113 2 Super Spacers
                                    114 B7099059 Hurco Milling Machine
                                    117 Micro Hardness Tester SN 1284
                                    119 Bowen 36DP Pressure Blast/Cabinet
                                    120 Mattison 16X60 Grinder
                                    123 Shapr Eng Lathe MDL 1780K
                                    124 SB-103 Water Wash Spray Booth
                                    126 Shelving (Transfer from Furn & Fix)
                                    127 WE 6-7-T Spray Booth
                                    128 1955 Bullard Grinder
                                    129 New TCM Forklift
                                    132 26x96 Enging Lathe
                                    133 Digital Read Out System
                                    134 Carlton Radial Drill PRess
                                    135 10' Servo Rotary Table -HS
                                    136 Ramco Monoset Tool/Grinder
                                    137 Cincinnati Tool/Grinder
                                    138 Cincinnati Grinder
                                    139 Plasma Spray SG-100 System
                                    140 Control Cable for Plasma System
                                    141 Hopper for Plasma System
                                    142 New Wafum Engine Lathe
                                    143 2086A-24 Gun, Plasma
                                    144 L16-9KW Explosion Proof Vaporizer
                                    145 24" 4JAW Cuashman M16-16S
                                    146 12" Bore Lodge & Shipley Headstock
                                    147 Cincinnati OD Grinder #3P2DIP-10
                                    148 Heald Grinder Model 272
                                    149 Garnder Rotary Screw Air Compressor
                                    150 Jib Crane
                                    152 Blanchard Surface Grinder
                                    153 "Cool One" Water Recirculator
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                              154 14" SVGA Samtron Monitor (Jason)
                              155 Ball Honing Machine
                              156 No-Pump Water Wash Paint Booth
                              157 Victor Heavy Duty Lathe
                              158 Victor Lathe
                              159 Blanchard Grinder 5487 Model 18
                              160 Ball Buffer - D77887
                              161 WAFUM TUR-630A Lathe (Including Sec 179)
                              162 One Used 21"x120" Plan Cyc Grinder
                              183 New Equipment
                              185 26" Toolmex-Wafum Lathe with 6.6" Spindle Bore
                              188 One Used Cincinnati Grinder
                              189 9" x 49" VB 3HP STD Mill 150 Torq
                              190 Lodge & Shipley Engine Lathe
                              192 Newell Lathe w/26" & 120" scale assembly
                              193 Used 15" 4-Jaw Chuck w/Top Jaws Solid Steel
                              194 Rack Pinion Shaft for Clausing Enging Lathe
                              196 Caterpillar Lift Truck (Leased)
                              198 Kabelschlepp Steel Cable Conveyor
                              203 6 Abell-Howe Jib Cranes, 1 Ton 360 FPM 12x12
                              204 6 Electric Chain Hoists 1 Ton w/10' Lift
                              205 Cable Assembly Pushbutton 6 Ft 3 Cond
                              206 Computer System-1/FD/64M operates cutting machine
                              232 Security Monitoring System
New building
                              247 Ooya 8'-0" Radial Arm Drilling Machine - Used
                              248 Cincinnati-Milacron "Monoset" Tool & Cuter Grinder
                              249 Savage 60 Ton Hydraulic Straightening Press - Used
                              252 Used Jib Crane
                              254 3 - 15" Engine Lathes
                              255 20' Steel D/V Container
                              258 25' Flag Pole
                              259 25' Flag Pole
                              261 Used Acra Mill Model 4V1
                              277 Used Syncrowave 250 Tig Runner
Shop
                              281 New Drill
                              282 New Drill
                              283 New Drill
                              284 One O/D Grinder
                              285 One O/D Grinder
                              286 Industrial Drill Press
                              292 Impact Wrench & Console for Shop
                              297 Used Kingston Lathe From Pinales
                              298 One Bridgeport Mill
                              299 Springfield Verticle Grinder
                              306 Naxos Union Grinder
                              314 Used Lathe Profit Master 16" x 60" CTS.
                              315 One ACM TA-2A-53344-1S
                              324 YUASA 8" Super Accu-Dex
                              327 Grainger Air Compressor
                              329 Bass Jaw Chuck 10" Set-True 6
                              330 16" D1-8 Set True Adapter
                              331 16" Set-True 6 Jam Chuck
                              332 16" D-8 Back Plate
                              335 ROH 63662 175 5MT Bull Nose Center
                              336 ROY 10983 5MT 8 1/4 Bull HD Live Ctr
                              337 Rex Supply Machine for Ship
                              344 16" 4JAW Chuck
                              345 28-54" O/D Mandrell Mike
                              346 1 Ton Jib Crane
                              347 1 Ton Jib Crane
                              348 2nd ROMI Machine w/Attachments
                              349 Riten 5MT Live Center Heavy Duty
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               350 1/2 CYD Hopper w/4" Steel Cast
               351 Acermill Lathe w/Attachments
               352 2002 PS100 Plasma Spray System (Large Shop)
               353 1985 21x96 Leblonde Engine Lathe
               354 78 Nebel Lathe
               359 Building to House Coating Equipment
               363 Lateral Weight Machine
               364 2 Shavings Hoppers
               366 16x60 Summit Lathe
               374 Heald ID Grinder
               375 New Romi Machine
               376 Band Saw
               377 New HAAS Machine
               380 Cincinnati Monosets
               382 Fabcorp Hoppers
               384 Rex Supply Co. Band Saw
               390 New Fan for Shop
               392 3 Thickness Testers
               393 274 Heald Universal MDL Grinder
               394 Carlton Radial Drill
               401 Innov-X Machinery
               403 Alpha 4" 150# Body
               404 Alpha 4" 150# End Piece
               405 Alpha 3" 150# Body
               406 Alpha 3" 150# End Piece
               407 Alpha Pattern WV0356
               408 Alpha Pattern WV0357
               410 Dunns Roll Frame Press
               415 Rex Romi G50
               416 Rex Romi M27x80
               417 Rex Romi M27x120
               430 Myfran Chip Conveyor
               435 Air Compressor
               436 Monett Pattern-Inv 48506
               437 Monett Pattern - Inv 48507
               439 One 4500 Gage
               440 One 4500 Gage
               441 One 4500 Gage
               446 ROMI EC1600
               452 Foam Shipping Equipment from Sealed Air
               453 3 Pallet Jacks froms Warehouse Rack
               454 Scissor Lift
               461 Giant Fan in New Building
               465 Dunn Valve Tester
               466 HH245C4-2 Hopper
               467 Birmingham 9 x 49 Mill
               468 RL 65 x 35814 Steady Rest
               469 CFM Body Casting
               471 FEMCO WVL-12
               472 Engine Lathe
               475 Fabcorp Hopper #1
               476 Fabcorp Hopper #2
               477 Fabcorp Hopper #3
               478 Fabcorp Hopper #4
               479 Fabcorp Hopper #5
               483 Chuck for Romi M27
               484 25" Jaw Chuck
               485 Steady Rests and Rollers for Romi 27"
               486 4ZX17 Crane
               487 4zx29 Crane
               488 One Ton Jib Crane
               489 Combo Hammer
               491 Spray Booth
               492 Mohawk Machinery
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               493 Mohawk Machinery
               498 One 4Zx17 Crane
               499 One 4Zx17 Crane
               500 One 4Zx17 Crane
               502 Fanuc P-100 Robotic Arms
               503 Spray System for New Shop
               504 Norton Equipment- SN 24716
               505 Norton Equipment - SN 23697
               506 Automation Plus Machinery
               507 EC-1600HMC64X40 Machinery
               509 Drum Roll Attachment for Forklift
               513 Radial Arm
               514 One Norton Grinder
               515 One Norton Grinder
               519 Spray Booth
               521 New Spray System
               523 Cincinnati Monoset 2D105A93
               524 Cincinnati Monoset 3152A0174-0060
               525 20x80 Summit Lathe
               527 21x60 Kingston Lathe
               539 Powder Hopper
               541 Crane Cart
               544 One 105 x 72 Drain Pan
               545 One 84 x 66 Drain pan
               547 One LeBlond Lathe
               548 One Crane
               549 One Crane
               550 Spray Booth #8
               555 Machine Guard for Lathe
               565 Adobe Caterpillar
               566 Repairs on Cincinnati Grinder
               580 1st Machine Cover for Spray Booth
               583 1st Machine Panel for Spray Booth
               590 Acer Ultima Milling Machine
               610 Blast Cabinet
               611 One Ton Jib Crane
               612 Altair 4, Portable Gas Detector
               613 Blast Cabinet
               614 Portable Welder
               615 Water Recovery Unit
               616 Air Flow Meter
               617 24" Shop Fan
               626 Air Compressor for JB Lab
               628 CitoVac w/Vacuum Pump for JB Lab
               634 Balance (Scale) for JB Lab
               635 Fiberglass Blower for JB Lab
               636 Hardness Tester for New Lab
               640 Cabinet, Quiet Assy 110V for Lab
               643 Balston Membrane Dryer w/Mounting Bracket
               644 Water System for Lab
               647 Model 5155 Dual Abraser-Lab
               648 Wheel Refacer & Wheel Set
               649 Tensice Machine/Software/Fi xtures - Lab
               651 100 HP Ingersoll-Rand Air Compressor
               652 Jimmy's Spray Booth
               662 Model 1110AJ-10K Load Cell Calibration Kit
               663 100 LBS Load Cell
               664 Black Core Toplab Water filtration system
               665 PSLIP CFG Acid Base Unit
               666 Sensor Conditioner Channel
               668 PSLIP CFG solv Base Unit
               669 Custom Labconco Hood
               690 Kurt Webb Power Drawbar
               691 Dehumidifier
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               692 Dryer-Refrigerated Air
               693 Large Grit Blast Room (Tax Asset - Sec 1033 - Fr Asset 517)
               694 Robot #2 - (Tax Asset Sec 1033 - From Asset 578)
               695 Donaldson Dust Collecter (Tax Asset - Reinstate #520)
               696 1000 Gallon Storage Tank (Tax - Reinstate 586)
               697 T85i Cooling Tower (Tax - Reinstate #595)
               699 Addition to Spray Booth #519 (Tax Asset)
               718 GT3C-Accuraspray Unit (Tecnar Automation; PO 0009670-00)
               720 Industrial Oven for JB Lab
               729 Watson Booth #5
               730 Watson Booth #6
               731 ABB IRB4400L Robot SRC 4 Robot Controller
               732 Watson Booth #1
               733 Add On's for Spray Booth
               734 Bass Tool & Supply Equipment
               744 Accessories for Excellence Plus Balance Scale
               746 Triner Scale
               760 Clemco Grit Blast Cabinet
               774 8 Robots - Automation Plus
               775 M6 FANUC Robot
               776 Air Receiver Tank
               777 Water Wash Booth Install
               778 Jet Booster Pumps (9)
               779 Gantry Robot
               780 Valves/Controllers Booth 1
               781 Valves/Controllers Booth 2
               782 Valves/Controllers Booth 3
               783 Valves/Controllers Booth 4
               784 Valves/Controllers Booth 5
               785 Valves/Controllers Booth 6
               786 Valves/Controllers Booth 7
               787 Valves/Controllers Booth 8
               788 Gas Contol System
               789 Powder Control System
               790 Gas Line Assembly
               791 Powder Line Assembly
               792 Flow Controllers
               793 Audible Alarm System
               794 Flat Work Table
               799 Spray Booth Door
               801 Building Signs
               809 Electric Cabinet Oven
               810 Refrigerated Dryer
               811 Battery Back Up
               812 One-Way Opt-S
               813 Shadowgraph
               814 Silencers
               815 Abrapol-10 (Barr)
               816 Polishing System (Barr)
               817 Saw-Duramin (Barr)
               829 SG 100 Gun
               830 Torque Wrench
               848 EPOCH 600 Digital Ultrasonic Flaw Detector
               849 Blanchard 36" Chuck (Used)
               850 Thermal Spray Connections
               858 Water Softener System
               859 Water Damper System
               860 Monarch Lathe 20" * 54" serial #41259
               861 Riten 5 mt Live Center
               862 Mandrel Assy MC-25
               864 Haas Vertical Machining Center, 120" *40"*30"(xyz) geared head
               869 Rotary Table
               871 11 x 12 Metal Building for Storage Tanks
               873 Red Head Spindle
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                                                                                 875 Attachment to Late purchased in June 2011 (See Asset No. 864)
                                                                                 876 8 x 4 x 3/16" RECT Tubing Fork
                                                                                 884 CDF Grinder
                                                                                 903 FEMCO VL-12 Cat 50 Turning/Facing Tool Holders
                                                                                 916 Used Cincinnati Monoset MDL Tool & Cutter Grinder
                                                                                 917 Doosan Infracore PUMA 400B W/OiTD Control (SN ML0126-004580)
                                                                                 920 ElecChain Hoist 1T, 10ft, 16/5fpm, 460V
                                                                                 921 CDF Grinder
                                                                                 927 Elec Chain Hoist 1 T 10ftr Lift 16fp & Container Chain for 1/2 1 & 2T
                                                                                 928 PUMA CNC Add On
                                                                                 934 Water Curtain
                                                                                 936 Polishing Robot - located in Ball Dept
                                                                                 937 Robot Booths
                                                                                 938 6 Station Seat Table
                                                                                 939 Testing Bench & Crane Rail
                                                                                 940 Robotic Spray Booth
                                                                                 951 Calibration Weights
                                                                                 952 Scale for JB's Lab
                                                                                 960 Crane from ProservCrane Group
                                                                                 961 Large Used Compressor-Screw Electra Saver II 100 HP from Danmar Industries
                                                                                 962 RJH Remote JOG Handle & Parts
                                                                                 963 Bison Heavy Duty 15.75 Chuck from Associated Machine Tool Tech
                                                                                 964 4NMH9 Air Cryer, Refrigerated, 800 CFM From Grainger
                                                                                 969 Doosan Infracore MYNX 5400 CNC Lathe From Associated Machine Tool Tech
                                                                                 970 Precision Balance For JB Lab (From Mettler Toledo)
                                                                                 972 Harrington 1-TON Push/Pull Crane
                                                                                 974 Acer Ultima Milling Machine From Rex Supply Co
                                                                                 975 Acer Ultima Milling Machine (From Rex Supply Co.)
                                                                                 976 2008 Golf Cart
                                                                                 977 Sieve Rack for 10 Sieves from Retsch
                                                                                 978 Analytical Sieve Shaker AS200 TAP 12V 640HZ Set from Retsch
                                                                                 979 Ultrasonic Cleaner
                                                                                 980 Sample Splitter RT6.5 with 12 Slots 6.3MM from Retsch
                                                                                 981 AMTTECH Equipment
                                                                               1,102 10" Optical Flat Van Keuren
                                                                               1,103 Edge (E09051210327) Equipment from FARO


 NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date. Whereas the existence and or condition of
assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be determined through proceeds of insurance settlement it is deemed for the purposes of
                                                                   this schedule that the net asset value as of the current date is unknown.
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                                                                       Software - Depreciation Schedule as of 09.30.2019
Asset ID Location                                                                      Description
                                                                                   395 Global Solutions Software
                                                                                   572 Master Cam Upgrade Software for Lathe
                                                                                   573 Microsoft Office & Outlook Upgrade -all Computers
                                                                                   574 Global Shop 5 User License
                                                                                   593 Autodesk Inventor Suite 2009 Software
                                                                                   598 ACT Software from Cornerstone
                                                                                   672 Windows Vista Business Software w/SP 1
                                                                                   752 Axis Parameter Software from Yaskawa
                                                                                   766 Cisco Software/License
                                                                                   767 Backup Software
                                                                                   820 Autodesk Software-Ron Rayman
                                                                                   821 Autodesk Software-Bob White
                                                                                   833 Project Standard 2010 Software
                                                                                   836 Microsoft Access 2010 (DVD Version)
                                                                                   837 Crystal Report Software
                                                                                   847 My Passport Software
                                                                                   856 ECAD Software
                                                                                   866 Adobe Creative Suite 5.5 Master Collection for Windows
                                                                                   878 Kamel Software-Fast Look Plus 2009
                                                                                   879 Vault Professional 2012 New ACE Software (2)
                                                                                   880 Mathcad Professional Software
                                                                                   882 Video Courseware Training Software
                                                                                   944 Quality Control Software Update
                                                                                   985 Quality Control Software Enhancements
                                                                                   986 Quality Control Software Enhancements
                                                                                   987 Microsoft Sotfware
                                                                                       Licensing
                                                                                   988 VM Software
                                                                                       Licensing
                                                                                 1,007 Quality Control
                                                                                       Software Upgrades
                                                                                 1,020 Product Design Suite
                                                                                       2014 Upgrade
                                                                                 1,021 Vault Professional
                                                                                       2014
                                                                                 1,098 Axiovision Software
                                                                                       Purchased from
                                                                                       John Barr
                                                                                 1,105 Axio Vision Software
                                                                                       Upgrade


 NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date. Whereas the existence and or condition of
assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be determined through proceeds of insurance settlement it is deemed for the purposes of
                                                                   this schedule that the net asset value as of the current date is unknown.
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                                                              Vehicles - Depreciation Schedule as of 09.30.2019
Asset ID Location                                                              Description
                                                                           293 2001 Ford Truck
                                                                           874 2006 GMC Truck (Diesel) & Accessories
                                                                          1,151 Used 2010 Crown Victoria (1FAB7BV9AX11169 3)
                                                                          1,152 Used 2010 Crown Victoria (2FABP7BV0AX140 144)



NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date. Whereas the existence and
or condition of assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be determined through proceeds of insurance settlement
                                           it is deemed for the purposes of this schedule that the net asset value as of the current date is unknown.
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 Fill in this information to identify the case:

 Debtor name          Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              20-30967
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Cypress-Fairbanks ISD Tax                     Describe debtor's property that is subject to a lien                    Unknown                 Unknown
        Creditor's Name
        10494 Jones Road
        Suite 106
        Houston, TX 77065
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        Accrued 2020                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


 2.2    Harris County et al                           Describe debtor's property that is subject to a lien                $218,120.00                         $0.00
        Creditor's Name                               2019 Property Tax, plus 2020 accrued.
        Tax Assessor-Collector
        PO Box 4622
        Houston, TX 77210
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)       20-30967
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


 2.3    Texas Capital Bank                            Describe debtor's property that is subject to a lien                  $3,000,000.00             Unknown
        Creditor's Name                               Cash, Accounts Receivable, Inventory,
        1330 Post Oak Blvd                            Equipment, Chattel Paper, and Other
        Suite 100                                     Collateral
        Houston, TX 77056
        Creditor's mailing address                    Describe the lien


        cody.cannon@texascapital                      Is the creditor an insider or related party?
        bank.com                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        October 25, 2017                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $3,218,120.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Timothy Million
         NEED ADDRESS FROM MSL                                                                                 Line   2.3




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          20-30967
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $5,400.00        $5,400.00
           Christopher Estrada                                       Check all that apply.
           9815 Knoboak Dr                                            Contingent
           Houston, TX 77080                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,520.00        $2,520.00
           Francisco Regla                                           Check all that apply.
           20535 Cocoplum Dr.                                         Contingent
           Katy, TX 77449                                             Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 80
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 Debtor       Watson Grinding & Manufacturing Co.                                                             Case number (if known)   20-30967
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,923.09    $3,923.09
          George Contreras                                           Check all that apply.
          4218 Taverns Corner                                         Contingent
          Houston, TX 77084                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Harris County                                              Check all that apply.
          c/o Environmental Practice Group                            Contingent
          Harris County Attorney Office                               Unliquidated
          1019 Congress Avenue, 15th Floor
          Houston, TX 77002                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Harris County Pollution Control                            Check all that apply.
          Services                                                    Contingent
          101 South Richey, Suite H                                   Unliquidated
          Pasadena, TX 77506
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,480.00    $3,480.00
          Inez Tristan                                               Check all that apply.
          15214 Wildhurst                                             Contingent
          Cypress, TX 77429                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 80
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 Debtor       Watson Grinding & Manufacturing Co.                                                             Case number (if known)   20-30967
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                            Contingent
          Post Office Box 7346                                        Unliquidated
          Philadelphia, PA 19101-7346
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,923.08    $6,923.08
          Jason White                                                Check all that apply.
          21861 Old Oak Way                                           Contingent
          Hockley, TX 77447                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,230.76    $3,230.76
          John Lichenstein Jr                                        Check all that apply.
          4816 CR 286                                                 Contingent
          Bay City, TX 77414                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,076.92    $8,076.92
          John Watson                                                Check all that apply.
          4002 Chatham Lane                                           Contingent
          Houston, TX 77027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 80
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 Debtor       Watson Grinding & Manufacturing Co.                                                             Case number (if known)   20-30967
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,615.39    $4,615.39
          John Watson Jr                                             Check all that apply.
          19526 Heron Harbor Dr                                       Contingent
          Cypress, TX 77433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,600.00    $3,600.00
          Manuel Pacheco                                             Check all that apply.
          220 Rittenhouse St                                          Contingent
          Houston, TX 77076                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,961.54    $1,961.54
          Matthew Snow                                               Check all that apply.
          16111 Woodbend Trail                                        Contingent
          Houston, TX 77070                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,200.00    $4,200.00
          Octavio Aceves                                             Check all that apply.
          3016 Barrington Springs Ln                                  Contingent
          Dickinson, TX 77539                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                             Case number (if known)   20-30967
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,461.54    $3,461.54
          Richard Bell                                               Check all that apply.
          9111 Restover Ln                                            Contingent
          Houston, TX 77064                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,923.08    $6,923.08
          Robert White                                               Check all that apply.
          27440 Waller Spring Creek Rd.                               Contingent
          Hockley, TX 77447                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Texas Comm. Environmental                                  Check all that apply.
          Quality                                                     Contingent
          P.O Box 12548                                               Unliquidated
          Austin, TX 78711
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     One-half of civel penalites pursuant to TWC,
                                                                     section 7.107.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $86,606.38    $0.00
          Texas Comptroller of Public                                Check all that apply.
          Accounts                                                    Contingent
          Lyndon B. Johnson State Office                              Unliquidated
          Building
                                                                      Disputed
          111 East 17th Street
          Austin, TX 78774
          Date or dates debt was incurred                            Basis for the claim:
          2019                                                       Margin and Sales Tax, plus accrual for 2020.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.19       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Texas Secretary of State                                 Check all that apply.
            PO Box 13697                                              Contingent
            Austin, TX 78711                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Texas Workforce Commission                               Check all that apply.
            101 E 15th St, Rm 370                                     Contingent
            Austin, TX 78778                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $579.50
           A.J. ROD COMPANY LTD                                                     Contingent
           5011 NAVIGTION BLVD.                                                     Unliquidated
           HOUSTON, TX 77011                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Abel Martinez
           c/o KWOK Daniel Ltd, LLP                                                 Contingent
           9805 Katy Freeway                                                        Unliquidated
           Suite 850                                                                Disputed
           Houston, TX 77024
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Abigail Hernandez
           c/o KWOK Daniel Ltd, LLP                                                 Contingent
           9805 Katy Freeway                                                        Unliquidated
           Suite 850                                                                Disputed
           Houston, TX 77024
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,650.00
          ACCUWELD INC.                                                       Contingent
          845 BUSCHONG                                                        Unliquidated
          HOUSTON, TX 77039                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.21
          ACE ELECTRONICS, INC                                                Contingent
          3210 ANTOINE DR.                                                    Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Adam Ontoya-Torres
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $170,239.77
          Afco                                                                Contingent
          5600 North River Road                                               Unliquidated
          Suite 400                                                           Disputed
          Des Plaines, IL 60018
                                                                                           Commericail Premium Finance Agreement -
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Agnex Panong
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Albano Hoxhaj                                                       Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alfonso Rodriguez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alison Long
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alvaro Mendieta
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amado Anguiano
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amber Lane
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amelia Diosdado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $436,490.66
          American Express                                                    Contingent
          Three World Financial Center                                        Unliquidated
          200 Vesey S                                                         Disputed
          New York, NY 10285
                                                                             Basis for the claim:    Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          AMERICAN HELI-ARC, INC                                              Contingent
          5009 PINEMONT DR.                                                   Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,093.00
          AMSTOCK SUPPLY                                                      Contingent
          PO BOX 769                                                          Unliquidated
          BELTON, TX 76513                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Luisa Singu
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Sarpas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ancorian Management LLC                                             Contingent
          10100 Clay Road
          Houston, TX 77080
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andrea Horton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andres Gomez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andres Unriostegui
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angel Olvera
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angelina Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angeline Garza
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anna Juarez                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Annie Tyler
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony A Bacarisse                                                 Contingent
          c/o State Farm Claims
          P O Box 106169
                                                                              Unliquidated
          Atlanta, GA 30348-6169                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Insurance Subrogation Claimant, notice without
          Last 4 digits of account number                                    premises listed
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Howard, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Uriostegui
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Antorion Avitia                                                     Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Armin Denic
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arnold Ballinger
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arthur and Sofia Ferrel                                             Contingent
          10326 Gladewood Dr.
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arthur Anh Nguyen
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,040.00
          ASAP MACHINE, INC                                                   Contingent
          9026 SWEETWATER LN                                                  Unliquidated
          HOUSTON, TX 77037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,951.65
          ASTRO ALLOYS, INC.                                                  Contingent
          9155 EMMOTT RD.                                                     Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ayla Benavides                                                      Contingent
          4430 Stanford Ct
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,250.00
          B-W GRINDING SERVICE INC.                                           Contingent
          5807 NUNN ST.                                                       Unliquidated
          HOUSTON, TX 77087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          B. P., minor
          c/o Zehl & Associates PC                                            Contingent
          2700 Post Oak Boulevard                                             Unliquidated
          Suite 1000                                                          Disputed
          Houston, TX 77056
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bamboo Properties, LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,582.49
          BASS TOOL & SUPPLY, INC.                                            Contingent
          2300 FAIRWAY PARK DR.                                               Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Benchmark                                                           Contingent
          PO Box 6808                                                         Unliquidated
          McKinney, TX 75071                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Benito Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Beronica Tabares
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,497.00
          BEST STAINLESS & ALLOYS                                             Contingent
          3616 OLD SPANISH TRAIL                                              Unliquidated
          HOUSTON, TX 77021                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bibiano Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bich-Nga Thi Le
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bichdao Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blanca Mojica
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blanca Solorazano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,488.27
          BOURN & KOCH INC.                                                   Contingent
          36856 EAGLE WAY                                                     Unliquidated
          CHICAGO, IL 60678                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brandon Lockridge                                                   Contingent
          4501 Steffani Lane
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Personal injuries and damages claimant
                                                                             Is the claim subject to offset?    No  Yes




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 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brenda Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brian Rego
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Byron Keith House
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          c/o State Farm                                                      Contingent
          P.O. Box 106169
          Atlanta, GA 30348
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claim, noticed without
                                                                             premises listed.
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Calixto Lopez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Candy Tovar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $316.00
          CAPITAL ABRASIVES, LLC                                              Contingent
          6002 W. 34TH STREET                                                 Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $130,473.00
          CARBIDE & METAL, C&M TECH LLC                                       Contingent
          7425 CARBIDE LANE                                                   Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Carole Goff
          c/o Bain & Barkley                                                  Contingent
          14090 Southwest Freeway                                             Unliquidated
          Suite 450                                                           Disputed
          Sugar Land, TX 77478
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherin Drawsand
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherine Laake
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherine Norton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cathryn R. Bottoms
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Celina Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $867.00
          CERAMETALS CARBIDE, LLC                                             Contingent
          7425 CARBIDE LANE                                                   Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.34
          CHAMPIONS MACHINE TOOL SALES                                        Contingent
          1151 E. CYPRESSWOOD DRIVE                                           Unliquidated
          SPRING, TX 77373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chao Gao
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chau Nguyen                                                         Contingent
          10618 Heatherford Dr
          Houston, TX 77041-8613
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Le
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Santiff
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Christina Thurman
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Christover Tovar                                                    Contingent
          c/o Crim & Villalpando PC
          2122 E Governors Circle
                                                                              Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Personal injuries claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cindy Ortega
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $967.98
          COASTAL INDUSTRIAL & SPECIALTY                                      Contingent
          25 NORTH 4TH STREET                                                 Unliquidated
          BEAUMONT, TX 77701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,026.40
          CORROSION MATERIALS                                                 Contingent
          22416 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cristhian Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cuong Vo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $971.82
          CUTTING TOOLS, INC                                                  Contingent
          5050 ASHLEY COURT                                                   Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cynthia Tates
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daisy Lozano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dale C. Battiste
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dan Berry Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dana Feaster
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Bravo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Drawsand
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Gutierrez, Jr.
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Juarez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Nakano                                                       Contingent
          c/o Electric Insurance Company                                      Unliquidated
          75 Sam Fonzo Drive
                                                                              Disputed
          Beverly, MA 01915
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance Subrogation Claim, noticed without
                                                                             premises listed.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniela Cortez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $176.51
          DARR EQUIPMENT CO                                                   Contingent
          13240 HEMPSTEAD RD #220                                             Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dau Thi Hoang
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Diosado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Rains
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Solorazano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Deborah Patten
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Delta Hernandez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Denis Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,611.31
          DEWAL INDUSTRIES                                                    Contingent
          15 RAY TRAINOR DR                                                   Unliquidated
          SAUNDERSTOWN, RI 02874                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Deztini Southall
          c/o Zehl & Associates PC                                            Contingent
          2700 Post Oak Boulevard                                             Unliquidated
          Suite 1000                                                          Disputed
          Houston, TX 77056
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diana Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diana Villalpando
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,065.00
          DIXIE ELECTRO PLATING CO. INC.                                      Contingent
          5610 POLK STREET                                                    Unliquidated
          HOUSTON, TX 77023                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Domingo Duron
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Donald Holcomb
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Doris Arias
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Duong Tung La
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,648.53
          EARLE M. JORGENSON CO.                                              Contingent
          6201 LUMBERDALE RD.                                                 Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Edith Vaesa
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eduardo Dolpher
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eduardo Flores & Hortensia Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elaine Jackson
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elba Lemus
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elias and Maria Mata                                                Contingent
          10507 Lybert Road
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elizabeth Rueda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $555.06
          ELLIOTT ELECTRIC SUPPLY                                             Contingent
          2526 NORTH STALLLING DR                                             Unliquidated
          NACOGDOCHES, TX 75963                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eloy Ortega
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ema Ferrufino                                                       Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Emily Perez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Emma Rufino                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,270.36
          ENERGY METALS                                                       Contingent
          2328 BELLFORT ST                                                    Unliquidated
          HOUSTON, TX 77051                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,139.12
          Enterprise                                                          Contingent
          P O Box 843369                                                      Unliquidated
          Kansas City, MO 64184                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vehicle Damages Claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eric Bravo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eric Young                                                          Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erick Anaya
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erika Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ernesto Benitez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esmeralda Gonzalez A/N/F of N.M., a Mino
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esmeralda Gonzalez, Individually
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esperanza Tabares
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esqueda and several other Amica Insureds                            Contingent
          c/o Sloane and Walsh LLP
          One Center Plaza 8th Floor
                                                                              Unliquidated
          Boston, MA 02108                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Potential Liability Claims, insured and premises not
          Last 4 digits of account number                                    listed
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esteban Pelcastre                                                   Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ethan Decicco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eva Olvera
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Evelyn Ibarra
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ever Omar Bautista
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fabian Flores                                                       Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Farah Albania
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fasco Fasteners and Supply Company
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Felipe Revuelta
          c/o Potts Law Firm                                                  Contingent
          3737 Buffalo Speedway                                               Unliquidated
          Suite 1900                                                          Disputed
          Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fernanda Pierre
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ferrel, Arthur
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ferrel, Sofia
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Field Express Delivery Service LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Flavja Mucka                                                        Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Flor D. Cubas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,110.00
          FOX METALS                                                          Contingent
          12660 FM 526                                                        Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Franciso Lozano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Frank Peters
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Freddy Sanchez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fredregille, James B
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,796.42
          FRY STEEL COMPANY                                                   Contingent
          13325 MOLETTE STREET                                                Unliquidated
          SANTA FE SPRING, CA 90670                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,965.00
          GAMMON GEAR, LLC                                                    Contingent
          9229 EAST AVENUE Q                                                  Unliquidated
          HOUSTON, TX 77012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilbert Orrellana
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilberto Figueroa
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilberto Mendoza Crus and Massiel Nunez,
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilberto Mendoza Cruz
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $757.38
          GLOBAL EQUIPMENT COMPANY                                            Contingent
          PO BOX 905713                                                       Unliquidated
          CHARLOTTE, NC 28290                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gordon Andrus
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gordon Andrus
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          GPM International, Inc.
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,233.53
          GRAINGER, INC.                                                      Contingent
          DEPT. 804435162                                                     Unliquidated
          PALATINE, IL 60038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,624.15
          GRAY CHEM, INC.                                                     Contingent
          122 N. RICHEY                                                       Unliquidated
          PASADENA, TX 77506                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,207.43
          GREENS BLUE FLAME GAS CO.                                           Contingent
          P.O. BOX 40423                                                      Unliquidated
          HOUSTON, TX 77240                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Greg Malloch
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,532.51
          GROVES INDUSTRIAL SUPPLY                                            Contingent
          7301 PINEMONT DRIVE                                                 Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Castro
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Meza A/N/F of J.S., a minor
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Meza, Individually
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,807.00
          GULF COAST METAL SALES                                              Contingent
          P.O. Box 7310                                                       Unliquidated
          HOUSTON, TX 77248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $707.50
          GULL INDUSTRIES                                                     Contingent
          3305 GANO ST.                                                       Unliquidated
          HOUSTON, TX 77009                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $470.00
          H & M PLATING COMPANY, INC                                          Contingent
          6804 LA PASEO                                                       Unliquidated
          HOUSTON, TX 77087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Harris County, Texas
          c/o Harris County Attorney, Environmenta                            Contingent
          1019 Congress                                                       Unliquidated
          15th Floor                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          HEB LP                                                              Contingent
          4625 Windfern Road
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          HEB LP                                                              Contingent
          10251 Kempwood Dr
          Houston, TX 77043
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Olvera & Maria Ofelia Mondragon
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Silva
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Henry Lindsay
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hilda Limas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hoan Van Pham                                                       Contingent
          c/o Crim & Villalpando PC
          2122 E Governors Circle
                                                                              Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Personal injuries claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Homero Regaldo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hossein Sondjani
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Auto Tech, Inc.
          c/o Lassiter Law Firm                                               Contingent
          3120 Southwest Freeway                                              Unliquidated
          Suite 650                                                           Disputed
          Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,180.00
          HOUSTON CENTERLESS GRINDING                                         Contingent
          PO BOX 230587                                                       Unliquidated
          HOUSTON, TX 77223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Corvette Service, Inc.
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Corvette Servies, Inc.
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,859.25
          HOUSTON PLATING COMPANY, LLP                                        Contingent
          P.O. BOX 418                                                        Unliquidated
          SOUTH HOUSTON, TX 77587                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $180.00
          HOUSTON WATER JET, LLC                                              Contingent
          11415 BRITTMOORE PARK DR.                                           Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hung Duc Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,997.60
          HUNTER CHEMICAL LLC                                                 Contingent
          220 COMMERCE DRIVE                                                  Unliquidated
          FORT WASHINGTON, PA 19034                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $403.74
          HUNTER, INC.                                                        Contingent
          P.O. BOX 6097
          PASADENA, TX 77506
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $909.75
          INDUSTRIAL BEARING & SVCS                                           Contingent
          5213-B TACOMA DRIVE                                                 Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,157.55
          INDUSTRIAL DIAMOND PRODUCTS CO                                      Contingent
          PO BOX 753167                                                       Unliquidated
          HOUSTON, TX 77275                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ingrid Miranda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $437.95
          INTSEL STEEL DISTRIBUTORS                                           Contingent
          PO BOX 301212                                                       Unliquidated
          DALLAS, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Irlanda Copeland
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isabel Campoverde
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isabella Figueroa
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jaime Gonzalez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jair Leal
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Bostick
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Walker
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jane Doe (a Minor)
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Janet Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Janette Thomas                                                      Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jasiah Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jasmin Serna
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Javier Lopez Herrera
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Javier Martinez
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeanne Merritt
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jennifer Phoung Nguyen
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jerlesa Tates
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jessie Sewel
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joan Doan
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joe Brunson
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johana Macin
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Baccam
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Dasilva
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Doe (a Minor)
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Johnson, II                                                    Contingent
          4501 Steffani Lane
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Personal injuries and damages claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,215,259.13
          John Watson                                                         Contingent
          4525 Gessner Rd                                                     Unliquidated
          Houston, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnnie Huynh
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnny Villalpando
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Castillo
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Chacon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Cubas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Garcia
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Corral
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Cruz                                                           Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose D. Coreas
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Mata
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Romero
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Tovar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Cropper
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joy Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joy Sessions o/b/o Jaylyn Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JPW Enterprises LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Reyes
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Torrest
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Julia Talamantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juliassa Ruiz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jung S. Yun
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karen Ford Todd
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karen Laake
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karla Rodriguez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kasi Kirby
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kathy Collins
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kay Dasilva
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Malady
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Mallady
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Thu Nguyen
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ken Holland, Individually and on behalf
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Vu
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kim & Nam Sin                                                       Contingent
          10328 Sommerville Ave
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kyle Mathis
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.25
          LANGLEY ALLOYS                                                      Contingent
          12323 NE. 99TH ST.                                                  Unliquidated
          VANCOUVER, WA 98682                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,632.43
          LARK HEAT TREAT, INC.                                               Contingent
          6640 MAYARD                                                         Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lashonda M. Henderson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Laura Ceballos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lawrence Sepulveda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonard Lebo o/b/o Pinemont Properties,
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonel Garcia
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name


 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonor Beltran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leticia Alarcon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,620.00
          LIBERTY FORGE, INC.                                                 Contingent
          P.O. DRAWER 1210                                                    Unliquidated
          LIBERTY, TX 77575                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lidia Harrison
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Linda Dang
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lucero Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Carreon
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Reyes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luz Maria Villa
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          M & N METALS, INC.                                                  Contingent
          2624 KERMIT HWY                                                     Unliquidated
          ODESSA, TX 79763                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maggie Rivera                                                       Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Manuel Corral
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marcos Ramos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarita Flores, Individually                                      Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarita Flores, Personal Representativ                            Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarito & Marlen Chavez                                           Contingent
          4802 Tanglewood Dr.
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Adela Perez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Barajas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Battiste
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Blanco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Diosado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Isabel Trejo
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria J. Hernanez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Uriostegui
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maricela Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mariela Garcia
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marilyn Cue
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mario Ginaldo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mario Ruiz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Martin Boado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Martin Esqueda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mary Bostick
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Massiel Nunez
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,375.00
          MASTER MACHINE INC.                                                 Contingent
          10101 CHICKASAW LANE                                                Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,965.02
          MATHESON TRI-GAS, INC                                               Contingent
          10430 MULA ROAD                                                     Unliquidated
          STAFFORD, TX 77477                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mayra Benitez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mayra Reyes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Melissa Walker
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Melody Doplher
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name


 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mervin Albania
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,864.00
          METAL CUTTING SPECIALISTS, LLC                                      Contingent
          7208 GESSNER ROAD    .                                              Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Smooke
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michelle Jimenez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel Abrego                                                       Contingent
          10723 Rockcrest Road
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel Cordero
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel Puente Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mijah Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mirian Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Morgan Lee
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $263.90
          MOSS SEAL COMPANY                                                   Contingent
          PO BOX 73345                                                        Unliquidated
          HOUSTON, TX 77273                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75.00
          MSC INDUSTRIAL SUPPLY                                               Contingent
          75 MASESS RD                                                        Unliquidated
          MELVILLE, NY 11747                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name


 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MWB Management LLC                                                  Contingent
          10267 Field Stone Drive
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claim
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,000.00
          MYERS TECHNOLOGY CO. LLC                                            Contingent
          2150 TOUCHY AVE.                                                    Unliquidated
          ELK GROVE VILLAGE, IL 60007                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Myra Jefferson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nathan Decicco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,645.97
          NATIONAL ALLOY SOLUTIONS LLC                                        Contingent
          21754 E. MARTIN DR.                                                 Unliquidated
          PORTER, TX 77365                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,701.12
          NATIONAL SPECIALTY ALLOYS                                           Contingent
          18250 KEITH HARROW                                                  Unliquidated
          HOUSTON, TX 77084                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nelly Zelaya
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nestor Javier Gonzalez Velazquez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nguyen Hoang
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $405.95
          NICOL SCALES                                                        Contingent
          701 BRADFIELD                                                       Unliquidated
          HOUSTON, TX 77060                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Noe Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Normajean Paula Hernandez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Odess Marie James House
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,527.59
          OERLIKON METCO (US) INC                                             Contingent
          27625 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name


 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Olivia Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $205.00
          OLYMPUS AMERICA INC                                                 Contingent
          48 WOERD AVE, STE 105                                               Unliquidated
          WALTHAM, MA 02453                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Omar Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oneida Talamantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oscar Cifuentes                                                     Contingent
          4721 Hollow Hook Road
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Otilia Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,965.00
          P&B TESTING INC                                                     Contingent
          6645 W TIDWELL                                                      Unliquidated
          HOUSTON, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name


 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pablo Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pamela Robertson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paola Chazarreta
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paola G. Chazarreta
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,809.00
          PARISH INTERNATIONAL, INC.                                          Contingent
          1075 ZACH ROAD                                                      Unliquidated
          HEMPSTEAD, TX 77445                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricia Cervantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricia Partales
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricio Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paul Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pedro Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Peter Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Phillip Burnam
          c/o Zehl & Associates PC                                            Contingent
          2700 Post Oak Boulevard                                             Unliquidated
          Suite 1000                                                          Disputed
          Houston, TX 77056
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Phong Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $601.25
          PRECISION FLUIDS INC                                                Contingent
          1441 PARK TEN BLVD                                                  Unliquidated
          HOUSTON, TX 77084                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,269.70
          PRECISION SURFACES INTL.                                            Contingent
          922 ASHLAND ST.                                                     Unliquidated
          HOUSTON, TX 77008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,896.50
          PT Huayue Nickel Cobalt                                             Contingent
          Gedung Wisma Mulia Lt.41. Jl. Jend Gatot                            Unliquidated
          Subroto No.42. Kuningan Barat, Mampang                              Disputed
          Prapatan. 12710 Jakarta, Indonesia
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,953.43
          PTSOLUTIONS                                                         Contingent
          14751 KIRBY DR                                                      Unliquidated
          HOUSTON, TX 77047                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33.41
          QUENCH USA, INC.                                                    Contingent
          630 ALLENDALE ROAD, SUITE 200                                       Unliquidated
          KING OF PRUSSIA, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,265.00
          R & M FORGE & FITTINGS                                              Contingent
          6455 WESCO WAY                                                      Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ramiro Cruz                                                         Contingent
          c/o Arnold & Itkin LLP
          6009 Memorial Drive
                                                                              Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ramon Cortez (Individually and on behalf                            Contingent
          c/o Mostyn Law
          3810 West Alabama Street
                                                                              Unliquidated
          Houston, TX 77027                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $760.00
          RAMS ALLOYS,LLC                                                     Contingent
          RAMS ALLOYS                                                         Unliquidated
          Houston, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rebecca McKeehan
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          RELIABLE EDM, INC.                                                  Contingent
          6940 FULTON ST.                                                     Unliquidated
          Houston, TX 77022                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Reymundo Ceballos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Reyna Malerva Torres
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ricardo Carreon                                                     Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Richard Gannon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rigoberto Miranda, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rivis Husband
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Robert Ojeda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Roberto Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rochelle Feaster
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rodriguez Clementina Izaguirre
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $196.00
          ROMI MACHINE TOOLS                                                  Contingent
          1845 AIRPORT EXCHANGE BLVD.                                         Unliquidated
          ERLANGER, KY 41018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalba Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalba Mendieta
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalie Holland
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosaura Calix
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rose Avitia                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rozalinda Gomez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,550.00
          RS MACHINE COMPANY LLC                                              Contingent
          6926 Guhn Road                                                      Unliquidated
          Houston, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ryan Hess
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,340.00
          S + S INDUSTRIES                                                    Contingent
          5614 NUNN                                                           Unliquidated
          HOUSTON, TX 77087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Salomon Torres                                                      Contingent
          c/o State Farm Claims
          P O Box 10169
                                                                              Unliquidated
          Atlanta, GA 30348-6169                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Insurance Subrogation Claimant, noticed without
          Last 4 digits of account number                                    premises
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sara G. Darrow
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sara Gloria
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,348.00
          SCOTT STAINLESS, INC.                                               Contingent
          P501 GEORGIA                                                        Unliquidated
          SOUTH HOUSTON, TX 77587                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sean Robert Rangel
          c/o Fernelius Simon Mace Robertson Perdu                            Contingent
          4119 Montrose Boulevard                                             Unliquidated
          Suite 500                                                           Disputed
          Houston, TX 77006
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sebastijan Berenji
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sergio Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sergio Cruz, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,550.00
          SIFCO APPLIED SURFACE CONCEPTS                                      Contingent
          5708 SCHAAF RD.                                                     Unliquidated
          INDEPENDENCE, OH 44131                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,440.00
          SIGMA TUBE & BAR                                                    Contingent
          363 N SAM HOUSTON                                                   Unliquidated
          HOUSTON, TX 77060                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Silvia Arevalo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sindy Sanchez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Skylar Douglas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sophia S. Navarro                                                   Contingent
          c/o Dick Law Firm, PLLC
          3701 Brookwood Drive
                                                                              Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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              Name

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sophie Lindsay
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sotaura Tyler
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139.00
          SOUTHLAND BATTERY                                                   Contingent
          6311 ANTIONE DR.                                                    Unliquidated
          HOUSTON, TX 77091                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,550.00
          SPECIAL PIPING MATERIALS, INC                                       Contingent
          4615 KENNEDY COMMERCE DR                                            Unliquidated
          HOUSTON, TX 77032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          SPECIALTY HEAT TREAT, INC                                           Contingent
          PO BOX 40637                                                        Unliquidated
          HOUSTON, TX 77240                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stacy Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          State of Texas
          c/o Harris County Attorney, Environmenta                            Contingent
          1019 Congress                                                       Unliquidated
          15th Floor                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stephen Sin                                                         Contingent
          10246 Colony Court
          Houston, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Insurance Subrogation Claimant
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Reagle
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Tran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stingray Energy, LLC
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sulma Berjano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          SUPERIOR SHOT PEENING, INC                                          Contingent
          13930 LUTHE ROAD                                                    Unliquidated
          HOUSTON, TX 77039                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,373.11
          SURFACE PREPARATION, LLC.                                           Contingent
          5965 SOUTH LOOP EAST                                                Unliquidated
          HOUSTON, TX 77033                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susan Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susie Brunson, as next friend of Bylan B
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susie Brunson, Individually
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sylvia Garza
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tan Truong
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tasha Felder, Individually and on Behalf
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tatiana Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,000.00
          TECHNICAL ENGINEERING                                               Contingent
          100 CHAPEL RD                                                       Unliquidated
          MANCHESTR, CT 06042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Terri Sepluveda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,883.00
          TEXAS STAINLESS/HEAT TREATING                                       Contingent
          P O BOX 882                                                         Unliquidated
          TEMPLE, TX 76503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,144.00
          TEXCELLENT INDUSTRIES, INC.                                         Contingent
          10830 WARWANA ROAD                                                  Unliquidated
          HOUSTON, TX 77043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $354.29
          THE NUT PLACE, INC.                                                 Contingent
          6605 GESSNER DR                                                     Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.00
          THERMO-TEMP                                                         Contingent
          813-A WOODCREST DR                                                  Unliquidated
          HOUSTON, TX 77018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,308.95
          THREE L, INC.                                                       Contingent
          12235 ROBIN BLVD.                                                   Unliquidated
          HOUSTON, TX 77045                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Thurman, Christina
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,679.00
          THYSSENKRUPP MATERIALS, NA                                          Contingent
          10648 WEST LITTLE YORK RD                                           Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tina Do
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tina Tran
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tony Tsao                                                           Contingent
          c/o Republic
          P O Box 809056
                                                                              Unliquidated
          Dallas, TX 75380-9056                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Insurance Subrogation Claimant, premises not listed
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,067.00
          TOP TOOLING INC.                                                    Contingent
          1340 MUNGER                                                         Unliquidated
          HOUSTON, TX 77023                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Travis Horton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $281,525.07
          TRICOR INDUSTRIAL, INC.                                             Contingent
          TEXAS DIVIDION                                                      Unliquidated
          CONROE, TX 77304                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Trivia Douglas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tuyet Do
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,017.58
          U-LINE, INC.                                                        Contingent
          ATTN: ACCOUNTS RECEIVABLE                                           Unliquidated
          WAUKEGAN, IL 60085                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $286.00
          UNITED TOOL & SUPPLY                                                Contingent
          9021 W LITTLE YORK RD                                               Unliquidated
          HOUSTON, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Veit Tran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Veronic Jimenez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,592.50
          VERTECS                                                             Contingent
          PO BOX 801523                                                       Unliquidated
          HOUSTON, TX 77280                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Vi Hoang Kim Wannigman
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victor Garcia Salas                                                 Contingent
          c/o Crim & Villalpando PC
          2122 E Governors Circle
                                                                              Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Personal injuries claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Chavez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Ontoya-Torres
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Wells
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,497.00
          VICTORY METALS, LLC                                                 Contingent
          12335 KINGSRIDE LN                                                  Unliquidated
          HOUSTON, TX 77024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,145.00
          VINATECH INDUSTRIES, INC.                                           Contingent
          5430 BRITTMOORE RD.                                                 Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,588.75
          WEB INDUSTRIAL DIAMOND CO, INC                                      Contingent
          2117 N. HOUSTON AVE.                                                Unliquidated
          PEARLAND, TX 77581                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wendy Honda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wendy Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          William Walingsford
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Watson Grinding & Manufacturing Co.                                                     Case number (if known)            20-30967
              Name

 3.460     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yesenia Ayala, as Next Fried of I.C. and                           Contingent
           c/o Byron C. Alfred
           2019 Wichita Street
                                                                              Unliquidated
           Houston, TX 77004                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Litigation Claimant
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.461     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yessica Gonzalez
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.462     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yolanda Wells
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.463     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yoloanda Navarro
           c/o Buzbee Law Firm                                                Contingent
           JP Morgan Chase Tower, 600 Travis Street                           Unliquidated
           Suite 7300                                                         Disputed
           Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.464     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yousef Abdulla
           c/o Lassiter Law Firm                                              Contingent
           3120 Southwest Freeway                                             Unliquidated
           Suite 650                                                          Disputed
           Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.465     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Zacarias Chacon
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


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 Debtor       Watson Grinding & Manufacturing Co.                                                 Case number (if known)        20-30967
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.1      Centauri Specialty Insurance Company
          215 N Westmonte Drive                                                                  Line   3.73
          Altamonte Springs, FL 32714
                                                                                                       Not listed. Explain

 4.2      CJW & Associates Inc.
          12650 Ingnuity Drive Suite 200                                                         Line   3.21
          Orlando, FL 32826
                                                                                                       Not listed. Explain

 4.3      Crawford & Company
          1605 N Cedar Crest Blvd                                                                Line   3.36
          Suite 407
          Allentown, PA 18104                                                                          Not listed. Explain


 4.4      Gulfstream Property & Casualty Insurance
          215NWestmonte Drive                                                                    Line   3.40
          Altamonte Springs, FL 32714
                                                                                                       Not listed. Explain

 4.5      Kip Patterson
          Baker & Patterson LLP                                                                  Line   3.178
          3100 Richmond Ave Suite 550
          Houston, TX 77098                                                                            Not listed. Explain


 4.6      Kip Patterson
          Baker & Patterson LLP                                                                  Line   3.179
          3100 Richmond Ave Suite 550
          Houston, TX 77098                                                                            Not listed. Explain


 4.7      The Littleton Group - E. Division, Inc.
          400 North Sam Houston Parkway East                                                     Line   3.287
          Suite 430
          Houston, TX 77060                                                                            Not listed. Explain


 4.8      The Littleton Group - Eastern Division
          400 North Sam Houston Pkwy E Suite 435                                                 Line   3.319
          Houston, TX 77060
                                                                                                       Not listed. Explain

 4.9      The Littleton Group - Eastern Division
          400 North Sam Houston Pkwy E Suite 435                                                 Line   3.345
          Houston, TX 77060
                                                                                                       Not listed. Explain

 4.10     The Littleton Group - Eastern Division
          400 North Sam Houston Pkwy E Suite 435                                                 Line   3.118
          Houston, TX 77060
                                                                                                       Not listed. Explain

 4.11     The Littleton Group - Eastern Division
          400 North Sam Houston Pkwy E Suite 435                                                 Line   3.413
          Houston, TX 77060
                                                                                                       Not listed. Explain

 4.12     The Littleton Group - Eastern Division
          400 North Sam Houston Pkwy E Suite 435                                                 Line   3.262
          Houston, TX 77060
                                                                                                       Not listed. Explain

 4.13     William J Rice Jr
          2040 N Loop West Suite 008                                                             Line   3.225
          Houston, TX 77018
                                                                                                       Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 79 of 80
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 Debtor       Watson Grinding & Manufacturing Co.                                                 Case number (if known)           20-30967
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.14      William J Rice Jr
           2040 N Loop West Suite 008                                                            Line      3.55
           Houston, TX 77018
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                    144,921.78
 5b. Total claims from Part 2                                                                        5b.    +     $                  3,075,032.64

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                    3,219,954.42




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 80 of 80
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 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-30967
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Contracts were
              lease is for and the nature of              requested and to be
              the debtor's interest                       supplemented upon
                                                          access to contracts.
                  State the term remaining                Unknown
                                                                                     AT&T
              List the contract number of any                                        P.O. BOX 660921
                    government contract                                              Dallas, TX 75266-0921


 2.2.         State what the contract or                  Watson Grinding and
              lease is for and the nature of              Manufactoring Co.
              the debtor's interest                       leases to Tenant the
                                                          premises located at
                                                          4606 Steffani Lane,
                                                          Houston, Texas 77041
                                                          (4606 Steffani Lane -
                                                          Lot 7,8,9,10,11,12 -
                                                          Building A,B,C,D,E,F)
                                                          and 4521 Steffani Lane,
                                                          Houston, Texas 77041
                                                          (Block D - Spring
                                                          Branch Terrace, Lot 7).
                                                          $10,000 paid to Betty
                                                          Sue Watson no later
                                                          than the tenth day of
                                                          each calender month.
                  State the term remaining                Ending 7/31/2020
                                                                                     Betty Sue Watson
              List the contract number of any                                        14302 Swan Green
                    government contract                                              Houston, TX 77095


 2.3.         State what the contract or                  Contracts were
              lease is for and the nature of              requested and to be
              the debtor's interest                       supplemented upon
                                                          access to contracts.
                  State the term remaining                Unknown
                                                                                     Comcast
              List the contract number of any                                        P.O. BOX 660618
                    government contract                                              Dallas, TX 75266-0618


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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 Debtor 1 Watson Grinding & Manufacturing Co.                                                Case number (if known)   20-30967
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.4.        State what the contract or                   Watson Grinding and
             lease is for and the nature of               Manufactoring Co.
             the debtor's interest                        leases to Tenant the
                                                          premises located at
                                                          4506 Steffani Lane,
                                                          Houston, Texas 77041
                                                          (4506 Steffani Lane -
                                                          Lot 2 Block C Spring
                                                          Branch Terrace). $3,000
                                                          paid to Jason White on
                                                          the first day of each
                                                          and every calender
                                                          month.
                  State the term remaining                Month-to-month
                                                                                     Jason White
             List the contract number of any                                         4525 Gessner Rd
                   government contract                                               Houston, TX 77041


 2.5.        State what the contract or                   Service agreement for
             lease is for and the nature of               gas tanks on Watson
             the debtor's interest                        Grinding premise.
                                                          Tanks not owned by
                                                          Watson Grinding.
                                                          Unable to access actual
                                                          records (will suplement
                                                          upon reciept of same).
                  State the term remaining
                                                                                     MATHESON TRI-GAS, INC
             List the contract number of any                                         10430 MULA ROAD
                   government contract                                               Stafford, TX 77477


 2.6.        State what the contract or                   Watson Grinding and
             lease is for and the nature of               Manufactoring Co.
             the debtor's interest                        leases to Tenant the
                                                          premises located at
                                                          4627 Steffani Lane,
                                                          Houston, Texas 77041
                                                          (4627 Steffani Lane -
                                                          8,750 square feet of
                                                          office warehouse on
                                                          approximately .42 acres
                                                          - Lot 16 & 17 - Block D
                                                          Spring Branch Terrace)
                                                          and 4628 Steffani Lane,
                                                          Houston, Texas 77041
                                                          (4628 Steffani Lane -
                                                          Lot 16 Block C Spring
                                                          Branch Terrace).
                                                          $10,000 paid to Robert
                                                          and Judy White on the
                                                          tenth day of each and
                                                          every calender month.      Robert and Judy White
                  State the term remaining                Month-to-month             27440 Waller Spring Creek Rd.
                                                                                     Hockley, TX 77447
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 3
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 Debtor 1 Watson Grinding & Manufacturing Co.                                                Case number (if known)   20-30967
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.7.        State what the contract or                   Contracts were
             lease is for and the nature of               requested and to be
             the debtor's interest                        supplemented upon
                                                          access to contracts.
                  State the term remaining                Unknown
                                                                                     Verizon
             List the contract number of any                                         P.O. BOX 660108
                   government contract                                               Dallas, TX 75266-0108


 2.8.        State what the contract or                   Contracts were
             lease is for and the nature of               requested and to be
             the debtor's interest                        supplemented upon
                                                          access to contracts.
                  State the term remaining                Unknown
                                                                                     Xerox
             List the contract number of any                                         PO BOX 7405
                   government contract                                               Pasadena, CA 91109-7405




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-30967
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Watson Valve                      4512 Steffani Ln                                 Texas Capital Bank              D
             Services, Inc.                    Houston, TX 77041                                                                 E/F
                                               Joint Debtor of Texas Capital Bank Loan.                                         G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Watson Grinding & Manufacturing Co.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-30967
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                $567,288.80
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $23,452,147.94
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                             $22,776,200.95
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor       Watson Grinding & Manufacturing Co.                                                       Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               AFCO                                                        12/13/2019                         $8,220.74         Secured debt
               5600 North River Rd, Ste 400                                                                                     Unsecured loan repayments
               Des Plaines, IL 60018-5187                                                                                       Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.2.
               Web Industrial Diamo                                        11/20/2019                       $21,727.21          Secured debt
               2117 N. Houston Ave.                                                                                             Unsecured loan repayments
               Pearland, TX 77581                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Voestalpine Specialty                                       12/26/2019                      $280,570.00          Secured debt
               11929 Cutten Rd                                                                                                  Unsecured loan repayments
               Houston, TX 77066                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               Vinatech Industries                                         11/11/2019                       $30,365.00          Secured debt
               5430 Brittmoore Rd.                                                                                              Unsecured loan repayments
               Houston, TX 77041                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               Victory Metals, LLC                                         11/18/2019                       $33,289.51          Secured debt
               12335 Kingsride Ln                                                                                               Unsecured loan repayments
               Pmb #347                                                                                                         Suppliers or vendors
               Houston, TX 77024
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               Vertecs                                                     12/26/2019                       $35,000.00          Secured debt
               PO Box 801523                                                                                                    Unsecured loan repayments
               Houston, TX 77280-1523                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               United Fire Insurance                                       11/18/2019                       $27,992.66          Secured debt
               PO Box 3244                                                                                                      Unsecured loan repayments
               Cedar Rapids, IA 52406-3244                                                                                      Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               U-Line, Inc.                                                11/26/2019                         $9,486.18         Secured debt
               Attn: Accounts Receivable                                                                                        Unsecured loan repayments
               P.O.Box 88741                                                                                                    Suppliers or vendors
               Chicago, IL 60680-1741
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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 Debtor       Watson Grinding & Manufacturing Co.                                                       Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               Triple D Uniform Ren                                        11/08/2019                         $7,163.90         Secured debt
               4031 Southerland Road                                                                                            Unsecured loan repayments
               Houston, TX 77092                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.10
       .    Tricor Industrial, I                                           11/18/2019                       $80,306.54          Secured debt
               3517 North Loop 336 West                                                                                         Unsecured loan repayments
               Conroe, TX 77304                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .    TRCC-LLC                                                       11/12/2019                       $14,400.00          Secured debt
               3303 Falling Brook Ct                                                                                            Unsecured loan repayments
               Sugar Land, TX 77479                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.12
       .    Thyssenkrupp Material                                          12/09/2019                       $99,378.00          Secured debt
               10648 West Little York Rd                                                                                        Unsecured loan repayments
               Ste 400                                                                                                          Suppliers or vendors
               Houston, TX 77041
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .    Texcellent Industries                                          11/15/2019                       $11,958.00          Secured debt
               10830 Warwana Road                                                                                               Unsecured loan repayments
               Houston, TX 77043                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .    Texas Mutual Insurance                                         11/18/2019                       $16,303.37          Secured debt
               P.O. Box 841843                                                                                                  Unsecured loan repayments
               Dallas, TX 75284-1843                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.15
       .    Technical Engineering                                          11/15/2019                       $34,440.00          Secured debt
               100 Chapel Rd                                                                                                    Unsecured loan repayments
               Manchester, CT 06042                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.16
       .    Surface Preparation                                            11/15/2019                       $16,180.93          Secured debt
               5973 South Loop East                                                                                             Unsecured loan repayments
               Houston, TX 77033                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .    Scott Stainless, Inc                                           11/15/2019                       $25,653.00          Secured debt
               P501 Georgia South                                                                                               Unsecured loan repayments
               South Houston, TX 77587                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.18
       .    Rolls Royce Express                                            11/22/2019                       $10,000.00          Secured debt
               11051 Tower Oaks                                                                                                 Unsecured loan repayments
               Houston, TX 77065                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .    Republic Services #8                                           11/12/2019                         $7,205.68         Secured debt
               10554 Tanner Rd                                                                                                  Unsecured loan repayments
               Houston, TX 77041                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .    R & M Forge & Fittin                                           11/20/2019                      $215,695.00          Secured debt
               6455 Wesco Way                                                                                                   Unsecured loan repayments
               Houston, TX 77041                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .    Parish International                                           11/15/2019                       $14,974.00          Secured debt
               1075 Zach Road                                                                                                   Unsecured loan repayments
               Hempstead, TX 77445                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.22
       .    Accuweld Inc.                                                  10/8/2020                        $11,200.00          Secured debt
               845 Buschong                                                                                                     Unsecured loan repayments
               Houston, TX 77039-1001                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.23
       .    Al Thurmond Agency                                             11/18/2019                       $11,603.00          Secured debt
               14800 St Mary's Lane                                                                                             Unsecured loan repayments
               Suite 235                                                                                                        Suppliers or vendors
               Houston, TX 77079
                                                                                                                                Services
                                                                                                                                Other

       3.24
       .    Asap Machine, Inc                                              11/20/2019                      $121,270.00          Secured debt
               9026 Sweetwater Ln                                                                                               Unsecured loan repayments
               Houston, TX 77037                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.25
       .    Astro Alloys, Inc.                                             11/20/2019                       $18,371.69          Secured debt
               9155 Emmott Rd.                                                                                                  Unsecured loan repayments
               Houston, TX 77040                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.26
       .    Bass Tool & Supply                                             11/20/2019                       $37,165.10          Secured debt
               2300 Fairway Park Dr.                                                                                            Unsecured loan repayments
               Houston, TX 77092                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.27
       .    Best Stainless & All                                           11/26/2019                       $13,624.00          Secured debt
               3616 Old Spanish Trail                                                                                           Unsecured loan repayments
               Houston, TX 77021                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.28
       .    Carbide & Metal, C&M                                           11/20/2019                       $84,404.00          Secured debt
               24624 I-45 North                                                                                                 Unsecured loan repayments
               Ste 200                                                                                                          Suppliers or vendors
               Spring, TX 77386-4084
                                                                                                                                Services
                                                                                                                                Other

       3.29
       .    Champions Machine To                                           11/20/2019                         $9,505.40         Secured debt
               1151 E. Cypresswood Drive                                                                                        Unsecured loan repayments
               Spring, TX 77373                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.30
       .    Chubb Insurance Co.                                            11/18/2019                       $12,545.00          Secured debt
               500 Ross Street 154-0455                                                                                         Unsecured loan repayments
               Pittsburgh, PA 15250                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.31
       .    Corrosion Materials                                            11/20/2019                       $10,400.00          Secured debt
               22416 Network Place                                                                                              Unsecured loan repayments
               Chicago, IL 60673-1224                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.32
       .    Cummings & Houston LLP                                         11/08/2019                       $14,640.00          Secured debt
               440 Louisiana St # 650                                                                                           Unsecured loan repayments
               Houston, TX 77002                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.33
       .    Delta Centrifugal                                              11/15/2019                       $32,179.00          Secured debt
               3402 Center Street                                                                                               Unsecured loan repayments
               Temple, TX 76503-1043                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.34
       .    Earle M. Jorgenson C                                           11/18/2019                       $47,156.10          Secured debt
               6201 Lumberdale Rd.                                                                                              Unsecured loan repayments
               Houston, TX 77092                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.35
       .    Gray Chem, Inc.                                                11/15/2019                         $7,176.55         Secured debt
               122 N. Richey                                                                                                    Unsecured loan repayments
               Pasadena, TX 77506-1034                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.36
       .    Groves Industrial Su                                           11/20/2019                       $22,642.91          Secured debt
               7301 Pinemont Drive                                                                                              Unsecured loan repayments
               Houston, TX 77040                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.37
       .    Gulfco Forge Company                                           11/15/2019                       $16,050.00          Secured debt
               6817 Industrial Road                                                                                             Unsecured loan repayments
               Beaumont, TX 77705                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.38
       .    Home Depot Credit Se                                           11/19/2019                         $7,167.06         Secured debt
               Dept 32 - 2010868572                                                                                             Unsecured loan repayments
               PO Box 9001030                                                                                                   Suppliers or vendors
               Louisville, KY 40290-1030
                                                                                                                                Services
                                                                                                                                Other

       3.39
       .    Houston Plating Comp                                           11/20/2019                       $26,265.58          Secured debt
               P.O. Box 418 South                                                                                               Unsecured loan repayments
               South Houston, TX 77587                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.40
       .    Howco Metals Managem                                           10/9/2020                        $31,977.00          Secured debt
               P.O. BOX 203813                                                                                                  Unsecured loan repayments
               Houston, TX 77216-3813                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.41
       .    Hudson Energy                                                  11/19/2019                       $60,192.85          Secured debt
               5251 Westheimer Rd                                                                                               Unsecured loan repayments
               Houston, TX 77056                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.42
       .    Hunter Chemical LLC                                            12/04/2019                       $20,609.76          Secured debt
               220 Commerce Drive                                                                                               Unsecured loan repayments
               Suite405                                                                                                         Suppliers or vendors
               Fort Washington, PA 19034
                                                                                                                                Services
                                                                                                                                Other

       3.43
       .    Industrial Diamond P                                           11/15/2019                       $10,896.70          Secured debt
               PO BOX 753167                                                                                                    Unsecured loan repayments
               Houston, TX 77275                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.44
       .    KMHJ, LTD.                                                     12/02/2019                       $44,000.00          Secured debt
               PO BOX 53677                                                                                                     Unsecured loan repayments
               Houston, TX 77052                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.45
       .    Langley Alloys                                                 11/18/2019                       $14,358.53          Secured debt
               12323 Ne. 99th St.                                                                                               Unsecured loan repayments
               Vancouver, WA 98682                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.46
       .    Lark Heat Treat, Inc                                           11/15/2019                       $10,536.60          Secured debt
               6640 Mayard                                                                                                      Unsecured loan repayments
               Houston, TX 77041                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.47
       .    Liberty Forge, Inc.                                            12/04/2019                       $10,830.00          Secured debt
               P.O. Drawer 1210                                                                                                 Unsecured loan repayments
               Liberty, TX 77575                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.48
       .    Lineage Alloys Inc                                             11/15/2019                       $20,834.40          Secured debt
               PO Box 8702                                                                                                      Unsecured loan repayments
               Carol Stream, IL 60197-8702                                                                                      Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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 Debtor       Watson Grinding & Manufacturing Co.                                                       Case number (if known) 20-30967



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.49
       .    Matheson Tri-Gas, In                                           11/11/2019                       $87,323.54          Secured debt
               10430 Mula Road                                                                                                  Unsecured loan repayments
               Stafford, TX 77477                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.50
       .    National Alloy Solut                                           11/26/2019                         $9,499.41         Secured debt
               21754 E. Martin Dr.                                                                                              Unsecured loan repayments
               Porter, TX 77365                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.51
       .    National Specialty A                                           11/20/2019                       $16,698.00          Secured debt
               18250 Keith Harrow                                                                                               Unsecured loan repayments
               Houston, TX 77084-5739                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.52
       .    North American Hogan                                           11/15/2019                       $10,266.04          Secured debt
               PO Box 644774                                                                                                    Unsecured loan repayments
               Pittsburgh, PA 15264-4774                                                                                        Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    John Watson                                                 Various                                             See attached Exhibit SOFA
               4525 Gessner Rd                                             dates                                               4/13/30 detailing breakdown of
               Houston, TX 77041                                                                                               payments.
               Chief Executive Officer/Shareholder

       4.2.    Robert and Judy White                                       Various                                             See attached Exhibit SOFA
               4525 Gessner Road                                           dates                                               4/13/30 detailing breakdown of
               Houston, TX 77041                                                                                               payments.
               Chief Operating Officer / Spouse

       4.3.    4512 Steffani Properties, LLC                               Various                                             See attached Exhibit SOFA
               27440 Waller Spring Creek Rd                                dates                                               4/13/30 detailing breakdown of
               Hockley, TX 77447                                                                                               payments.
               Affiliate

       4.4.    Betty Sue Watson                                            Various                                             See attached Exhibit SOFA
               14302 Swan Green                                            dates                                               4/13/30 detailing breakdown of
               Houston, TX 77095                                                                                               payments.
               Relative to Shareholders


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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.5.    Jason White                                                 Various                                               See attached Exhibit SOFA
               4525 Gessner Rd                                             dates                                                 4/13/30 as to breakdown of
               Houston, TX 77041                                                                                                 payments.
               Vice President/Shareholder

       4.6.    Robert White                                                Various                                               See attached Exhibit SOFA
               4525 Gessner Rd                                             dates                                                 4/13/30 detailing breakdown of
               Houston, TX 77041                                                                                                 payments.
               Chief Executive Officer/Shareholder

       4.7.    David Dunn                                                  Various                                               See attached Exhibit SOFA
               4525 Gessner Rd                                             dates                                                 4/13/30 detailing breakdown of
               Houston, TX 77041                                                                                                 payments.
               Chief Financial Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    See Attached Exhibit SOFA 7                                                                                               Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

Part 4:       Certain Gifts and Charitable Contributions




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                                                                                   SOFA 7

                                                        Yousef Abdulla, et al. v. Watson Valve Services, Inc., et al.
Cause No. 2020-10652
190th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                              DEFENDANTS
Yousef Abdulla                                                                                                          Watson Valve Services Inc.
Houston Auto Tech, Inc.                                                                                                 Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                                      Personal Injury/Damages
Status of Case                                                                                                          Pending
                                             Gordon Andrus, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08220
152nd Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                              DEFENDANTS
Gordon Andrus                                                                                                           Watson Valve Services Inc.
Houston Corvette Service, Inc.                                                                                          Watson Grinding and Manufacturing Co.
Stingray Energy, LLC                                                                                                    KMHJ Management Company, LLC
                                                                                                                        KMHJ, Ltd.
                                                                                                                        Western International Gas & Cylinders, nc.
                                                                                                                        Matheson Tri-Gas, Inc.

Nature of the Case                                                                                                      Personal Injury/Damages
Status of Case                                                                                                          Pending
                                             Antorion Avitia, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08069
269th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                              DEFENDANTS
Antorion Avitia                                                                                                         Watson Valve Services Inc.
Rose Avitia                                                                                                             Watson Grinding and Manufacturing Co.
                                                                                                                        KMHJ Management Company, LLC
                                                                                                                        KMHJ, Ltd.
                                                                                                                        Watson Coatings Laboratory

Nature of the Case                                                                                                      Personal Injury/Damages
Status of Case                                                                                                          Pending
                                                         Ayala, Yesenia, et al. v. Watson Valve Services Inc., et al.
Cause No. 202005311
157th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                              DEFENDANTS
Yesenia Ayala, as Next Fried of I.C. and A.C., Minors                                                                   Watson Valve Services Inc.
                                                                                                                        Watson Grinding and Manufacturing Co.
                                                                                                                        Watson Coatings Laboratory

Nature of the Case                                                                                                      Personal Injury/Damages
Status of Case                                                                                                          Pending
                                                 Burnum, Phillip, et al. v. Watson Grinding and Manufactoring Co.
Cause No. 202005726
165th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                              DEFENDANTS
Phillip Burnam                                                                                                          Watson Grinding and Manufacturing Co.
Deztini Southall
P.B, minor
P.B., minor

Nature of the Case                                                                                                      Personal Injury/Damages
Status of Case                                                                                                          Pending
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                                                               Cortez, Ramon v. Watson Valve Services Inc.
Cause No. 202005191
295th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                         DEFENDANTS
Ramon Cortez (Individually and on behalf of all similarly situated)                                                Watson Valve Services Inc.
                                                                                                                   Watson Grinding and Manufacturing Co.
                                                                                                                   KMHJ Management Company, LLC
                                                                                                                   KMHJ, Ltd.

Nature of the Case                                                                                                 Personal Injury/Damages
Status of Case                                                                                                     Pending
                                                     Gilberto Mendoza Cruz, et al. v. Watson Valve Services Inc.
Cause No. 2020-08019
129th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                         DEFENDANTS
Gilberto Mendoza Cruz                                                                                              Watson Valve Services Inc.
Massiel Nunez                                                                                                      Watson Grinding and Manufacturing Co.
Gilberto Mendoza Crus and Massiel Nunez, as next friend of I.M. and A.M. (minors)                                  KMHJ Management Company, LLC
                                                                                                                   KMHJ, Ltd.
                                                                                                                   Western International Gas & Cylinders, Inc.
                                                                                                                   Matheson Tri-Gas, Inc.

Nature of the Case                                                                                                 Personal Injury/Damages
Status of Case                                                                                                     Pending
                                              Ferrell, Arthur, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-05024
281st Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                         DEFENDANTS
Ferrel, Arthur                                                                                                     Watson Grinding and Manufacturing Co.
Ferrel, Sofia                                                                                                      KMHJ Management Company, LLC
Fredregille, James B                                                                                               KMHJ, Ltd.
Thurman, Christina                                                                                                 Centerpoint Energy, Inc.
                                                                                                                   Centerpoint Energy Service Company, LLC
                                                                                                                   Centerpoint Energy Services, Inc.
                                                                                                                   Centerpoint Energy Resources Corp.
                                                                                                                   Centerpoint Energy Gas Services, Inc.

Nature of the Case                                                                                                 Personal Injury/Damages
Status of Case                                                                                                     Pending
                                                  Ema Ferrufino v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08241
190th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                         DEFENDANTS
Ema Ferrufino                                                                                                      Watson Valve Services Inc.
                                                                                                                   Watson Grinding and Manufacturing Co.
                                                                                                                   KMHJ Management Company, LLC
                                                                                                                   KMHJ, Ltd.
                                                                                                                   Watson Coatings Laboratory

Nature of the Case                                                                                                 Personal Injury/Damages
Status of Case                                                                                                     Pending
                                            Gilberto Figueroa, et al. v. Watson Griding and Manufacturing Co., et al.
Cause No. 2020-08062
061st Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                         DEFENDANTS
Gilberto Figueroa                                                                                                  Watson Valve Services Inc.
Isabella Figueroa                                                                                                  Watson Grinding and Manufacturing Co.
                                                                                                                   KMHJ Management Company, LLC
                                                                                                                   KMHJ, Ltd.
                                                                                                                   Western International Gas & Cylinders, Inc.
                                                                                                                   Matheson Tri-Gas, Inc.

Nature of the Case                                                                                                 Personal Injury/Damages
Status of Case                                                                                                     Pending
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                                                    Flores, Margarita, et al. v. Watson Valve Services Inc., et al.
Cause No. 202005250
295th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Margarita Flores, Individually                                                                                        Watson Valve Services Inc.
Margarita Flores, Personal Representative of the Estate of Frank Flores, Deceased                                     Watson Grinding and Manufacturing Co.
Maggie Rivera                                                                                                         KMHJ Management Company, LLC
Fabian Flores                                                                                                         KMHJ, Ltd.

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
                                                               Goff, Carole v. Watson Valve Services Inc.
Cause No. 202007220
11th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Carole Goff                                                                                                           Watson Valve Services Inc.
                                                                                                                      Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
                                                      Daniel Gutierrez Jr., et al. v. Watson Valve Services Inc.
Cause No. 202006829
164th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Daniel Gutierrez, Jr.                                                                                                 Watson Valve Services Inc.
Maria Ofelia Mondragon, Individually and as next friend of N.G., D.A.G, and A.G., minor children                      Watson Grinding and Manufacturing Co.
                                                                                                                      KMHJ Management Company, LLC
                                                                                                                      KMHJ, Ltd.

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
                                           Harris County Texas, et al. v. Watson Grinding and Manufacturing, et al.
Cause No. 202006634
113th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Harris County, Texas                                                                                                  Watson Grinding and Manufacturing Co.
State of Texas

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
                                                      Travis Horton, et al. v. Watson Valve Services Inc., et al.
Cause No. 202005505
055th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Travis Horton                                                                                                         Watson Valve Services Inc.
                                                                                                                      Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
                                            Johnnie Huynh, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-11887
281st Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                                            DEFENDANTS
Johnnie Huynh                                                                                                         Watson Grinding and Manufacturing Co.
                                                                                                                      Watson Valve Services, Inc.
                                                                                                                      KMHJ Management Company, LLC
                                                                                                                      KMHJ, Ltd.
                                                                                                                      Centerpoint Energy, Inc.
                                                                                                                      Centerpoint Energy Service Company, LLC
                                                                                                                      Centerpoint Energy Services, Inc.
                                                                                                                      Centerpoint Energy Resources Corp.
                                                                                                                      Centerpoint Energy Gas Services, Inc.
                                                                                                                      Western International Gas Services, Inc.
                                                                                                                      Western International Gas & Cylinders, Inc.
                                                                                                                      Matheston Tri-Gas, Inc.

Nature of the Case                                                                                                    Personal Injury/Damages
Status of Case                                                                                                        Pending
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                               Anna Juarez, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08058
334th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANTS
Anna Juarez                                                                                          Watson Valve Services Inc.
Ricardo Carreon                                                                                      Watson Grinding and Manufacturing Co.
                                                                                                     KMHJ Management Company, LLC
                                                                                                     KMHJ, Ltd.
                                                                                                     Western International Gas & Cylinders, Inc.
                                                                                                     Matheson Tri-Gas, Inc.

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
                               La, Duong Tung, et al. v. Watson Grinding and Manufacturing, et al.
Cause No. 202005281
133rd Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANTS
Duong Tung La                                                                                        Watson Grinding and Manufacturing Co.
Kelly Thu Nguyen                                                                                     KMHJ Management Company, LLC
Jennifer Phoung Nguyen                                                                               KMHJ, Ltd.
Bich-Nga Thi Le                                                                                      Centerpoint Energy, Inc.
Dau Thi Hoang                                                                                        Centerpoint Energy Service Company, LLC
Vi Hoang Kim Wannigman                                                                               Centerpoint Energy Services, Inc.
                                                                                                     Centerpoint Energy Resources Corp.
                                                                                                     Centerpoint Energy Gas Services, Inc.

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
                                         Chris Le, et al. v. Watson Valve Services Inc., et al.
Cause No. 2020-08475
234th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANTS
Chris Le                                                                                             Watson Valve Services Inc.
                                                                                                     Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
                                     Miranda, Rigoberto (Jr), et al. v. Watson Valve Services Inc.
Cause No. 202004959
281st Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANTS
Rigoberto Miranda, Jr.                                                                               Watson Valve Services Inc.
Ingrid Miranda                                                                                       Watson Grinding and Manufacturing Co.
Daniel Bravo
Eric Bravo

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
                                     Navarro, Sophia v. Watson Grinding and Manufacturing Co.
Cause No. 202004960
61st Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANT
Sophia S. Navarro                                                                                    Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
                              Olvera, Angel, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 202007292
295th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                           DEFENDANTS
Angel Olvera                                                                                         Watson Valve Services Inc.
Eva Olvera                                                                                           Watson Grinding and Manufacturing Co.
                                                                                                     KMHJ Management Company, LLC
                                                                                                     KMHJ, Ltd.

Nature of the Case                                                                                   Personal Injury/Damages
Status of Case                                                                                       Pending
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                                Esteban Pelcastre v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08078
127th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Esteban Pelcastre                                                                                 Watson Valve Services Inc.
                                                                                                  Watson Grinding and Manufacturing Co.
                                                                                                  KMHJ Management Company, LLC
                                                                                                  KMHJ, Ltd.
                                                                                                  Watson Coatings Laboratory

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
                                         Rangel, Sean Robert v. Watson Valve Services Inc.
Cause No. 202005585
269th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Sean Robert Rangel                                                                                Watson Valve Services Inc.
                                                                                                  Watson Grinding and Manufacturing Co.
                                                                                                  KMHJ Management Company, LLC
                                                                                                  KMHJ, Ltd.

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
                                            Steven Reagle v. Watson Valve Services Inc.
Cause No. 202006829
164th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Steven Reagle                                                                                     Watson Valve Services Inc.
                                                                                                  Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
                       Felipe Revuelta v. Watson Valve Services, Inc., Watson Grinding and Manufacturing, Co
Cause No. 2020-08679
129th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Felipe Revuelta                                                                                   Watson Valve Services Inc.
                                                                                                  Watson Grinding and Manufacturing Co.

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
                                            Rufino, Emma v. Watson Valve Services Inc.
Cause No. 2020-08081
165th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Emma Rufino                                                                                       Watson Valve Services Inc.
                                                                                                  Watson Grinding and Manufacturing Co.
                                                                                                  KMHJ Management Company, LLC
                                                                                                  KMHJ, Ltd.
                                                                                                  Watson Coatings Laboratory

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
                             Maria Isabel Trejo, et al. v. Watson Grinding and Manufacturing Co., et al.
Cause No. 2020-08054
080th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                        DEFENDANTS
Maria Isabel Trejo                                                                                Watson Valve Services Inc.
Javier Lopez Herrera                                                                              Watson Grinding and Manufacturing Co.
                                                                                                  KMHJ Management Company, LLC
                                                                                                  KMHJ, Ltd.
                                                                                                  Western International Gas & Cylinders, Inc.
                                                                                                  Matheson Tri-Gas, Inc.

Nature of the Case                                                                                Personal Injury/Damages
Status of Case                                                                                    Pending
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                                        Wallingsford, William v. Watson Valve Services Inc.
Cause No. 202006509
127th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                      DEFENDANTS
William Walingsford                                                                             Watson Valve Services Inc.
                                                                                                Watson Grinding and Manufacturing Co.
                                                                                                KMHJ Management Company, LLC
                                                                                                KMHJ, Ltd.
                                                                                                Centerpoint Energy, Inc.
                                                                                                Centerpoint Energy Service Company, LLC
                                                                                                Centerpoint Energy Services, Inc.
                                                                                                Centerpoint Energy Resources Corp.
                                                                                                Centerpoint Energy Gas Services, Inc.

Nature of the Case                                                                              Personal Injury/Damages
Status of Case                                                                                  Pending
                             Young, Eric, et al. v. Watson Grinding and Manufacturing Company, et al.
Cause No. 2020.07378
125th Judicial District
201 Caroline St, Houston, TX 77002
PLAINTIFFS                                                                                      DEFENDANTS
Eric Young                                                                                      Watson Grinding and Manufacturing Co.
Albano Hoxhaj                                                                                   KMHJ Management Company, LLC
Flavja Mucka                                                                                    KMHJ, Ltd.
Ramiro Cruz
Jose Cruz
Janette Thomas

Nature of the Case                                                                              Personal Injury/Damages
Status of Case                                                                                  Pending
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 Debtor        Watson Grinding & Manufacturing Co.                                                          Case number (if known) 20-30967




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Explosion resulting in loss of                            N/A                                                      1/23/2020                  Unknown
       office building, machinery and
       equipment, and other assets


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Jones Murray & Beatty, LLP
                4119 Montrose
                Suite 230
                Houston, TX 77006                                    Legal Retainer                                            02/03/2020         $125,000.00

                Email or website address
                www.jmbllp.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967




       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 See attached Exhibit SOFA
       .    4/13/30
               Disclosure of Payments to
               Insiders
               for transparency. Debtor
               believes these
               payments to be ordinary
               course.                                           Various dates

               Relationship to debtor
               Insiders/Affiliates


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Watson Grinding Employees' 401(k) Retirement Plan                                          EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes
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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       MATHESON TRI-GAS, INC                                         4525 Gessner Road                    Service agreement for gas                  Unknown
       10430 MULA ROAD                                               Houston, TX 77041                    tanks on Watson Grinding
       Stafford, TX 77477                                                                                 premise. Tanks not owned by
                                                                                                          Watson Grinding.

       Owner's name and address                                      Location of the property             Describe the property                            Value
       KHMJ LTD                                                      Mutiple                              4525 Gessner (Watson                       Unknown
       4525 Gessner Road                                             Houston, TX 77041                    Grinding - Main Office)
       Houston, TX 77041                                                                                  4606 Steffani Bldg. F (CNC
                                                                                                          Building)

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Betty Sue Watson                                              Multiple                             4606 Steffani Bldg. A-D                    Unknown
       14302 Swan Green                                              Houston, TX 77041                    (Machining Bays)
       Houston, TX 77095                                                                                  4521 Steffani (Lab)
                                                                                                          4606 Steffani Bldg. E (Coating
                                                                                                          Booth)



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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967



       Owner's name and address                                      Location of the property             Describe the property                                     Value
       Robert White                                                  4627 Steffani                        Grinding Shop                                         Unknown
       4525 Gessner                                                  Houston, TX 77041
       Houston, TX 77041

       Owner's name and address                                      Location of the property             Describe the property                                     Value
       Jason White                                                   4506 Steffani                        Storage Facility                                      Unknown
       4525 Gessner Rd                                               Houston, TX 77041
       Houston, TX 77041


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None

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 Debtor      Watson Grinding & Manufacturing Co.                                                        Case number (if known) 20-30967



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       David Dunn                                                                                                            2011 - Current
                    4525 Gessner Rd
                    Houston, TX 77041
       26a.2.       Matt Snow                                                                                                             2012 - Current
                    4525 Gessner Rd
                    Houston, TX 77041

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Cummings & Houston LLP                                                                                                2002 - Present
                    440 Louisiana St # 650
                    Houston, TX 77002
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       David Dunn                                                                                                            2011 - Current
                    4525 Gessner Road
                    Houston, TX 77041

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Cummings & Houston LLP
                    440 Louisiana St # 650
                    Houston, TX 77002
       26c.2.       David Dunn                                                                               Explosion at the premises. Debtor has not
                    4525 Gessner Road                                                                        been able to determine the status of the
                    Houston, TX 77041                                                                        damages to the physical books and records.

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.       Texas Capital Bank
                    1330 Post Oak Blvd
                    Suite 100
                    Houston, TX 77056
       26d.2.       Cummings & Houston LLP
                    440 Louisiana St # 650
                    Houston, TX 77002

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.


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 Debtor       Watson Grinding & Manufacturing Co.                                                       Case number (if known) 20-30967



               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John Watson                                    4525 Gessner Rd                                     Chief Executive Officer               63.778%
                                                      Houston, TX 77041

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert White                                   4525 Gessner Rd                                     Chief Operating Officer               17.096%
                                                      Houston, TX 77041

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jason White                                    4525 Gessner Rd                                     Executive Vice Presedent              17.096%
                                                      Houston, TX 77041

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Judy White                                     4525 Gessner Rd                                     Shareholder                           2.029%
                                                      Houston, TX 77041



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1                                                                                                                                 See attached
       .                                                                                                                                    Exhibit SOFA
               David Dunn                                                                                                                   4/13/10 for
               4525 Gessner Rd                                                                                                              breakdown of
               Houston, TX 77041                                                                                         Various dates      payments.

               Relationship to debtor
               Chief Financial Officer


       30.2                                                                                                                                 See attached
       .                                                                                                                                    Exhibit SOFA
               Robert White                                                                                                                 4/13/10 for
               4525 Gessner Rd                                                                                                              breakdown of
               Houston, TX 77041                                                                                         Various dates      payments.

               Relationship to debtor
               Minority Shareholder - Chief
               Operating Officer


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 Debtor       Watson Grinding & Manufacturing Co.                                                       Case number (if known) 20-30967



               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.3                                                                                                                               See attached
       .                                                                                                                                  Exhibit SOFA
               Jason White                                                                                                                4/13/30 for
               4525 Gessner Rd                                                                                                            breakdown of
               Houston, TX 77041                                                                                         Various dates    payments.

               Relationship to debtor
               Minority Shareholder - Vice
               President


       30.4                                                                                                                               See attached
       .                                                                                                                                  Exhibit SOFA
               John Watson                                                                                                                4/13/30 for
               4525 Gessner Rd                                                                                                            breakdown of
               Houston, TX 77041                                                                                         Various dates    payments.

               Relationship to debtor
               Majority Shareholder - Chief
               Executive Officer


       30.5                                                                                                                               See attached
       .                                                                                                                                  Exhibit SOFA
               Betty Sue Watson                                                                                                           4/13/30 for
               14302 Swan Green                                                                                                           breakdown of
               Houston, TX 77095                                                                                         Various dates    payments.

               Relationship to debtor
               Mother of Majority
               Shareholder (John Watson)


       30.6                                                                                                                               See attached
       .                                                                                                                                  Exhibit SOFA
               Judy White                                                                                                                 4/13/30 for
               4525 Gessner Rd                                                                                                            breakdown of
               Houston, TX 77041                                                                                         12/30/2019       payments.

               Relationship to debtor
               Wife of Minority Shareholder


       30.7                                                                                                                               See attached
       .                                                                                                                                  Exhibit SOFA
               Judy White and Robert White                                                                                                4/13/30 for
               4525 Gessner Rd                                                                                                            breakdown of
               Houston, TX 77041                                                                                         Various dates    payments.

               Relationship to debtor
               Wife of Minority Owner and
               Minority Owner.


       30.8                                                                                                                               See attached
       .    Jason White - Property                                                                                                        Exhibit SOFA
               4525 Gessner Rd                                                                                                            4/13/30 for
               Houston, TX 77041                                                                                                          breakdown of
                                                                                                                         Various dates    payments.

               Relationship to debtor
               Property owned by Minority
               Owner (Jason White)



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                                SOFA 4/13/30
         Name                          Amount             Check Date
         Dunn, David L                           7,291.67                  2/15/2018
                                                 7,291.67                  2/28/2018
                                                 7,291.67                  3/15/2018
                                                 7,291.67                  3/30/2018
                                                 7,291.67                  4/13/2018
                                                 7,291.67                  4/30/2018
                                                 7,291.67                  5/15/2018
                                                 7,291.67                  5/31/2018
                                                 7,291.67                  6/15/2018
                                                 7,291.67                  6/29/2018
                                                 7,291.67                  7/13/2018
                                                 7,291.67                  7/31/2018
                                                 7,291.67                  8/15/2018
                                                 7,291.67                  8/31/2018
                                                 7,291.67                  9/14/2018
                                                 7,291.67                  9/28/2018
                                                 7,291.67                 10/15/2018
                                                 7,291.67                 10/31/2018
                                                 7,291.67                 11/15/2018
                                                 7,291.67                 11/30/2018
                                                58,349.13                 12/14/2018
                                                 7,291.67                 12/31/2018
                                                 7,291.67                  1/15/2019
                                                 7,291.67                  1/31/2019
                                                 7,291.67                  2/15/2019
                                                 7,291.67                  2/28/2019
                                                 7,291.67                  3/15/2019
                                                 7,291.67                  3/29/2019
                                                 7,291.67                  4/15/2019
                                                 7,291.67                  4/30/2019
                                                 7,291.67                  5/15/2019
                                                 7,291.67                  5/31/2019
                                                 7,291.67                  6/14/2019
                                                 7,291.67                  6/28/2019
                                                 7,291.67                  7/15/2019
                                                 7,291.67                  7/31/2019
                                                 7,291.67                  8/15/2019
                                                 7,291.67                  8/30/2019
                                                 7,291.67                  9/13/2019
                                                 7,291.67                  9/30/2019
                                                 7,291.67                 10/15/2019
                                                 7,291.67                 10/31/2019
                                                 7,291.67                 11/15/2019
                                                 7,291.67                 11/29/2019
                                                50,656.93                 12/13/2019
                                                 7,291.67                 12/31/2019
                                                 7,291.67                  1/15/2020
                                                 5,833.34                  1/31/2020
                                               442,964.55 Payroll
                                                                             1/0/1900
                                               221,482.28 Watson Grinding (50%)
                                               221,482.28 Watson Valve (50%)
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                              SOFA 4/13/30
         Name                           Amount          Check Date
         White, Robert L                      12,790.29                  2/15/2018
                                              12,790.29                  2/28/2018
                                              12,790.29                  3/15/2018
                                              12,790.29                  3/30/2018
                                              12,790.29                  4/13/2018
                                              12,790.29                  4/30/2018
                                              12,790.29                  5/15/2018
                                              12,790.29                  5/31/2018
                                              12,790.29                  6/15/2018
                                              12,790.29                  6/29/2018
                                              12,790.29                  7/13/2018
                                              12,790.29                  7/31/2018
                                              12,790.29                  8/15/2018
                                              12,790.29                  8/31/2018
                                              12,790.29                  9/14/2018
                                              12,790.29                  9/28/2018
                                              12,790.29                 10/15/2018
                                              12,790.29                 10/31/2018
                                              12,790.29                 11/15/2018
                                              12,790.29                 11/30/2018
                                              24,328.31                 12/14/2018
                                             365,839.05                 12/19/2018
                                              14,825.36                 12/31/2018
                                              12,823.38                  1/15/2019
                                              12,823.38                  1/31/2019
                                              12,823.38                  2/15/2019
                                              12,823.38                  2/28/2019
                                              12,823.38                  3/15/2019
                                              12,823.38                  3/29/2019
                                              12,823.38                  4/15/2019
                                              12,823.38                  4/30/2019
                                              12,823.38                  5/15/2019
                                              12,823.38                  5/31/2019
                                              12,823.38                  6/14/2019
                                              12,823.38                  6/28/2019
                                              12,823.38                  7/15/2019
                                              12,823.38                  7/31/2019
                                              12,823.38                  8/15/2019
                                              12,823.38                  8/30/2019
                                              12,823.38                  9/13/2019
                                              12,823.38                  9/30/2019
                                              12,823.38                 10/15/2019
                                              12,823.38                 10/31/2019
                                              12,823.38                 11/15/2019
                                              12,823.38                 11/29/2019
                                              14,836.17                 12/13/2019
                                             374,857.39                 12/31/2019
                                              12,823.38                  1/15/2020
                                               6,573.38                  1/31/2020
                                           1,352,003.20 Payroll

                                             676,001.60 Watson Grinding (50%)
                                             676,001.60 Watson Valve (50%)

         Robert White                          5,901.09                  20190919
                                             387,337.83                  20191230
                                             393,238.92 Distribution

                                           1,069,240.52 Grand Total
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                                  SOFA 4/13/30
         Name                            Amount          Check Date
         White, Jason M                       12,802.08                      2/15/2018
                                              12,802.08                      2/28/2018
                                              12,802.08                      3/15/2018
                                              12,802.08                      3/30/2018
                                              12,802.08                      4/13/2018
                                              12,802.08                      4/30/2018
                                              12,802.08                      5/15/2018
                                              12,802.08                      5/31/2018
                                              12,802.08                      6/15/2018
                                              12,802.08                      6/29/2018
                                              12,802.08                      7/13/2018
                                              12,802.08                      7/31/2018
                                              12,802.08                      8/15/2018
                                              12,802.08                      8/31/2018
                                              12,802.08                      9/14/2018
                                              12,802.08                      9/28/2018
                                              12,802.08                     10/15/2018
                                              12,802.08                     10/31/2018
                                              12,802.08                     11/15/2018
                                              12,802.08                     11/30/2018
                                              24,340.10                     12/14/2018
                                              11,250.00                     12/19/2018
                                              14,612.05                     12/31/2018
                                              12,846.58                      1/15/2019
                                              12,846.58                      1/31/2019
                                              12,846.58                      2/15/2019
                                              12,846.58                      2/28/2019
                                              12,846.58                      3/15/2019
                                              12,846.58                      3/29/2019
                                              12,846.58                      4/15/2019
                                              12,846.58                      4/30/2019
                                              12,846.58                      5/15/2019
                                              12,846.58                      5/31/2019
                                              12,846.58                      6/14/2019
                                              12,846.58                      6/28/2019
                                              12,846.58                      7/15/2019
                                              12,846.58                      7/31/2019
                                              12,846.58                      8/15/2019
                                              12,846.58                      8/30/2019
                                              12,846.58                      9/13/2019
                                              12,846.58                      9/30/2019
                                              12,846.58                     10/15/2019
                                              12,846.58                     10/31/2019
                                              12,846.58                     11/15/2019
                                              12,846.58                     11/29/2019
                                              14,470.19                     12/13/2019
                                              70,865.89                     12/31/2019
                                              12,846.58                      1/15/2020
                                                6,596.58                     1/31/2020
                                             693,647.75 Payroll

                                                 346,823.88 Watson Grinding (50%)
                                                 346,823.88 Watson Valve (50%)

         White, Jason M                          387,337.83                  20191230
                                                 387,337.83 Distribution

                                                 734,161.71 Grand Total

         Name                            Amount             Check Date
         Jason White - Property                    3,000.00                  20190301
                                                   3,000.00                  20190401
                                                   3,000.00                  20190501
                                                   3,000.00                  20190531
                                                   3,000.00                  20190701
                                                   3,000.00                  20190801
                                                   3,000.00                  20190830
                                                   3,000.00                  20191001
                                                   3,000.00                  20191101
                                                   3,000.00                  20191202
                                                   3,000.00                  20191231
                                                  33,000.00 Rent
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         Name                          Amount         Check Date
         Watson, John M                     12,545.66                      2/15/2018
                                            12,545.66                      2/28/2018
                                            12,545.66                      3/15/2018
                                            12,545.66                      3/30/2018
                                            12,545.66                      4/13/2018
                                            12,545.66                      4/30/2018
                                            12,545.66                      5/15/2018
                                            14,873.62                      5/31/2018
                                            14,873.62                      6/15/2018
                                            14,873.62                      6/29/2018
                                            14,889.92                      7/13/2018
                                            14,889.92                      7/31/2018
                                            14,889.92                      8/15/2018
                                            14,889.92                      8/31/2018
                                            14,889.92                      9/14/2018
                                            14,889.92                      9/28/2018
                                            14,889.92                     10/15/2018
                                            14,889.92                     10/31/2018
                                            14,889.92                     11/15/2018
                                            14,889.92                     11/30/2018
                                            18,928.22                     12/14/2018
                                            60,547.97                     12/19/2018
                                            17,010.53                     12/31/2018
                                            14,880.21                      1/15/2019
                                            14,880.21                      2/15/2019
                                            14,880.21                      2/28/2019
                                            14,880.21                      3/15/2019
                                            14,880.21                      3/29/2019
                                            14,880.21                      4/15/2019
                                            14,880.21                      4/30/2019
                                            14,880.21                      5/15/2019
                                            14,880.21                      5/31/2019
                                            14,880.21                      6/14/2019
                                            14,880.21                      6/28/2019
                                            14,880.21                      7/15/2019
                                            14,880.21                      7/31/2019
                                            14,880.21                      8/15/2019
                                            14,880.21                      8/30/2019
                                            14,880.21                      9/13/2019
                                            14,880.21                      9/30/2019
                                            14,880.21                     10/15/2019
                                            14,880.21                     10/31/2019
                                            14,880.21                     11/15/2019
                                            14,880.21                     11/29/2019
                                            16,889.27                     12/13/2019
                                            14,880.21                     12/31/2019
                                            14,880.21                      1/15/2020
                                               296.88                      1/31/2020
                                           737,257.38 Payroll

                                               368,628.69 Watson Grinding (50%)
                                               368,628.69 Watson Valve (50%)

         Watson, John M                           1,420.20                 20190806
                                              1,445,000.00                 20191230
                                              1,446,420.20 Distrubution

                                              1,815,048.89 Grand Total

         Name                          Amount         Check Date
         Watson, John M                     21,555.00                      20190301
                                            21,555.00                      20190401
                                            21,555.00                      20190501
                                            21,555.00                      20190531
                                            21,555.00                      20190628
                                            21,555.00                      20190801
                                            21,555.00                      20190830
                                            21,555.00                      20191001
                                            21,555.00                      20191101
                                            15,270.00                      20191202
                                            21,555.00                      20191231
                                           230,820.00 Notes Payable
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                               SOFA 4/13/30

         Name                           Amount         Check Date
         Betty Sue Watson                    10,000.00                20190301
                                             10,000.00                20190401
                                             10,000.00                20190501
                                             10,000.00                20190531
                                             10,000.00                20190701
                                             10,000.00                20190801
                                             10,000.00                20190830
                                             10,000.00                20191001
                                             10,000.00                20191101
                                             10,000.00                20191202
                                             10,000.00                20191231
                                            110,000.00 Rent

         Name                           Amount         Check Date
         Judy White                          45,985.30                20191230
                                             45,985.30 Distribution

         Name                           Amount         Check Date
         Robert White                        10,000.00                20190301
         Judy White                          10,000.00                20190401
                                             10,000.00                20190501
                                             10,000.00                20190531
                                             10,000.00                20190701
                                             10,000.00                20190801
                                             10,000.00                20190830
                                             10,000.00                20191001
                                             10,000.00                20191101
                                             10,000.00                20191202
                                             10,000.00                20191231
                                            110,000.00 Rent
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